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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA


WANDA DURYEA, MATTHEW HOSKING,
JOHN MCKEE, LISA MELEGARI,
MICHAEL REILLY, SANDRA STEFFEN,                 No.
PAUL GLANTZ, EDWIN BLAKEY,
JENNIFER SULLIVAN, LISA AXELROD,
ANBESSA TUFA AND CHRISTINA HALL,

                           Plaintiffs,
                                                CLASS ACTION COMPLAINT
     v.

AGRI STATS, INC., CLEMENS FOOD
GROUP, LLC, HORMEL FOODS
CORPORATION, INDIANA PACKERS
CORPORATION, JBS USA, SEABOARD                  DEMAND FOR JURY TRIAL
FOODS, LLC, SMITHFIELD FOODS, INC.,
TRIUMPH FOODS, LLC, AND TYSON
FOODS, INC.

                         Defendants.
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       Plaintiffs bring this action on behalf of themselves individually and on behalf of a

plaintiff class consisting of all persons and entities who purchased pork indirectly from a

defendant or co-conspirator for personal use in the United States from at least January 1, 2009

until the present (Class Period). Plaintiffs bring this action for injunctive relief under Section 1 of

the Sherman Act, and for treble damages under the antitrust laws, unfair competition laws,

consumer protection laws, and unjust enrichment common laws of the several states against

defendants, and demand a trial by jury.

                                  I.      NATURE OF ACTION

         1.    The pork integrator-defendants are the leading suppliers of pork in an industry

 with approximately $20 billion in annual commerce. The pork industry is highly concentrated,

 with a small number of large producers in the United States controlling supply. Defendants and

 their co-conspirators collectively control over 80 percent of the wholesale pork market.

         2.    These defendants, Agri Stats, Inc. (Agri Stats), Clemens Food Group, LLC

 (Clemens), Hormel Foods Corporation (Hormel), Indiana Packers Corporation (Indiana

 Packers), JBS USA, Seaboard Foods LLC (Seaboard), Smithfield Foods, Inc. (Smithfield),

 Triumph Foods, LLC (Triumph), and Tyson Foods, Inc. (Tyson), entered into a conspiracy

 from at least 2009 to the present to fix, raise, maintain and stabilize the price of pork. 1 The

 principal (but not exclusive) method by which defendants implemented and executed their

 conspiracy was by coordinating their output and limiting production with the intent and

 expected result of increasing pork prices in the United States. In furtherance of their

 conspiracy, defendants exchanged detailed, competitively sensitive, and closely guarded non-



   1
    For the purposes of this complaint, pork includes pig meat purchased fresh or frozen,
smoked ham, sausage and bacon.


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 public information about prices, capacity, sales volume and demand through their co-

 conspirator Agri Stats.

         3.   Beginning in at least 2009, Agri Stats began providing highly sensitive

 “benchmarking” reports to the majority of pork integrators. Benchmarking allows competitors

 to compare their profits or performance against that of other companies. But Agri Stats’ reports

 are unlike those of other lawful industry reports. Agri Stats gathers detailed financial and

 production data from each of the pork integrators, standardizes this information, and produces

 customized reports and graphs for the co-conspirators. The type of information available in

 these reports is not the type of information that competitors would provide each other in a

 normal, competitive market. Instead, the provision of this detailed information acts as the

 proverbial smoke-filled room of the cartels of yesteryear. Rather than meeting in a room with

 pen and paper, Agri Stats collected the pork integrators’ competitively sensitive supply and

 pricing data and intentionally shared that information through detailed reports it provided to the

 pork integrators. On a weekly and monthly basis, Agri Stats provides the pork integrators with

 current and forward-looking sensitive information (such as profits, costs, prices and slaughter

 information), as well as regularly provides the keys to deciphering which data belongs to which

 producers. The effect of this information exchange was to allow the pork integrators to monitor

 each other’s production and hence control supply and price.

         4.   The data exchanged through Agri Stats bears all the hallmarks of the enforcement

 mechanism of a price-fixing scheme. First, the data is current and forward-looking – which

 courts consistently hold has “the greatest potential for generating anticompetitive effects.” 2



   2
     Todd v. Exxon Corp., 275 F.3d 191, 2011 (2d Cir. 2001) (Sotomayor, J.) (quoting United
States v. Gypsum Co., 438 U.S. 422, 441 n.16 (1978)).


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Second, information contained in Agri Stats reports is specific to the pork producers, including

information on profits, prices, costs and production levels. “Courts prefer that information be

aggregated in the form of industry averages, thus avoiding transactional specificity.” 3 Third,

none of the Agri Stats information was publicly available. Agri Stats is a subscription service,

which required the co-conspirators to pay millions of dollars over the class period – far in

excess of any other pricing and production indices. “Public dissemination is a primary way for

data exchange to realize its pro-competitive potential.” 4 Agri Stats ensured that its detailed,

sensitive business information was available only to the co-conspirators and not to any buyers

in the market.

         5.    In addition to this public information, the swine producers admitted in public calls

that they had discussed production cuts at least once, and publicly signaled to each other that

no supply increases would happen.

         6.    In addition, there are numerous “plus factors” in the swine industry during the

class period, including but not limited to multiple industry characteristics which facilitate

collusion, such as high vertical integration, high barriers to entry, high pork industry

consolidation and concentration, inelastic supply and demand, and a lack of significant

substitutes for pork. These plus factors add plausibility to plaintiffs’ allegations of a price

fixing scheme.

         7.    Defendants’ restriction of pork supply had the intended purpose and effect of

increasing pork prices to plaintiffs and class members. Beginning in 2009, the earnings of the

integrators began to increase, as they took an increasing amount of the profits available in the



 3
     Id. at 212.
 4
     Id. at 213.


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pork industry. As a result of defendants’ unlawful conduct, plaintiffs and the classes paid

artificially inflated prices for pork during the class period. Such prices exceeded the amount

they would have paid if the price for pork had been determined by a competitive market. Thus,

plaintiffs and class members were injured by defendants’ conduct.

                           II.     JURISDICTION AND VENUE

       8.    Plaintiffs bring this action under Section 16 of the Clayton Act (15 U.S.C. § 26) to

secure injunctive relief against defendants for violating Section 1 of the Sherman Act (15

U.S.C. § 1). Plaintiffs also bring these state law class claims on behalf of all the classes to

recover actual and/or compensatory damages, double and treble damages as permitted, pre- and

post-judgment interest, costs, and attorneys’ fees for the injury caused by defendants’ conduct

in restricting the supply of pork and increasing the price of pork. Plaintiffs seek damages in

excess of $5,000,000. This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331,

1337, and Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15(a) and 26.

       9.    Venue is appropriate in this District under 28 U.S.C. § 1391(b), (c) and (d)

because one or more defendants resided or transacted business in this District, is licensed to do

business or is doing business in this District, and because a substantial portion of the affected

interstate commerce described herein was carried out in this District.

       10.   This Court has personal jurisdiction over each defendant because, inter alia, each

defendant: (a) transacted business throughout the United States, including in this District; (b)

manufactured, sold, shipped, and/or delivered substantial quantities of pork throughout the

United States, including in this District; (c) had substantial contacts with the United States,

including in this District; and/or (d) engaged in an antitrust conspiracy that was directed at and

had a direct, foreseeable, and intended effect of causing injury to the business or property of



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 persons residing in, located in, or doing business throughout the United States, including in this

 District.

         11.   The activities of the defendants and all co-conspirators, as described herein, were

 within the flow of, were intended to, and did have direct, substantial, and reasonably

 foreseeable effects on, the foreign and interstate commerce of the United States.

                                        III.    PARTIES

A.     Plaintiffs

         12.   Plaintiff Wanda Duryea was a resident at all relevant times of Farmington, New

 Hampshire. During the Class Period and while residing in New Hampshire, plaintiff Duryea

 indirectly purchased pork and pork products for her own use and not for resale that was

 produced by one or more defendants or their co-conspirators. Plaintiff Duryea suffered injury

 as a result of defendants’ conduct alleged herein.

         13.   Plaintiff Matthew Hosking was a resident at all relevant times of Helena,

 Montana. During the Class Period and while residing in Montana, plaintiff Hosking indirectly

 purchased pork and pork products for his own use and not for resale that was produced by one

 or more defendants or their co-conspirators. Plaintiff Hosking suffered injury as a result of

 defendants’ conduct alleged herein.

         14.   Plaintiff John McKee was a resident at all relevant times of Green Bay,

 Wisconsin. During the Class Period and while residing in Wisconsin, plaintiff McKee

 indirectly purchased pork and pork products for his own use and not for resale that was

 produced by one or more defendants or their co-conspirators. Plaintiff McKee suffered injury

 as a result of defendants’ conduct alleged herein.

         15.   Plaintiff Lisa Melegari was a resident at all relevant times of Deltona, Florida.

 During the Class Period and while residing in Florida, plaintiff Melegari indirectly purchased

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pork and pork products for her own use and not for resale that was produced by one or more

defendants or their co-conspirators. Plaintiff Melegari suffered injury as a result of defendants’

conduct alleged herein.

       16.   Plaintiff Michael Reilly was a resident at all relevant times of Albuquerque, New

Mexico. During the Class Period and while residing in New Mexico, plaintiff Reilly indirectly

purchased pork and pork products for his own use and not for resale that was produced by one

or more defendants or their co-conspirators. Plaintiff Reilly suffered injury as a result of

defendants’ conduct alleged herein.

       17.   Plaintiff Sandra Steffen was a resident at all relevant times of Camarillo,

California. During the Class Period and while residing in California, plaintiff Steffen indirectly

purchased pork and pork products for her own use and not for resale that was produced by one

or more defendants or their co-conspirators. Plaintiff Steffen suffered injury as a result of

defendants’ conduct alleged herein.

       18.   Plaintiff Paul Glantz was a resident at all relevant times of Agawam,

Massachusetts. During the Class Period and while residing in Massachusetts, plaintiff Glantz

indirectly purchased pork and pork products for his own use and not for resale that was

produced by one or more defendants or their co-conspirators. Plaintiff Glantz suffered injury as

a result of defendants’ conduct alleged herein.

       19.   Plaintiff Edwin Blakey was a resident at all relevant times of New Windsor, New

York. During the Class Period and while residing in New York, plaintiff Blakey indirectly

purchased pork and pork products for his own use and not for resale that was produced by one

or more defendants or their co-conspirators. Plaintiff Blakey suffered injury as a result of

defendants’ conduct alleged herein.



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       20.   Plaintiff Jennifer Sullivan was a resident at all relevant times of Elk River,

Minnesota. During the Class Period and while residing in Minnesota, plaintiff Sullivan

indirectly purchased pork and pork products for her own use and not for resale that was

produced by one or more defendants or their co-conspirators. Plaintiff Sullivan suffered injury

as a result of defendants’ conduct alleged herein.

       21.   Plaintiff Anbessa Tufa was a resident at all relevant times of New Hope,

Minnesota. During the Class Period and while residing in Minnesota, plaintiff Tufa indirectly

purchased pork and pork products for his own use and not for resale that was produced by one

or more defendants or their co-conspirators. Plaintiff Tufa suffered injury as a result of

defendants’ conduct alleged herein.

       22.   Plaintiff Lisa Axelrod is currently a resident of Hillsboro Beach, Florida. At all

times between 2009 and approximately March 2018 Plaintiff Lisa Axelrod resided in North

Hollywood, California. During the Class Period and while residing in California and Florida,

plaintiff Axelrod indirectly purchased pork and pork products for her own use and not for

resale that was produced by one or more defendants or their co-conspirators. Plaintiff Axelrod

suffered injury as a result of defendants’ conduct alleged herein.

       23.   Plaintiff Christina Hall was a resident at all relevant times of York, South

Carolina. During the Class Period and while residing in South Carolina, plaintiff Hall indirectly

purchased pork and pork products for her own use and not for resale that was produced by one

or more defendants or their co-conspirators. Plaintiff Hall suffered injury as a result of

defendants’ conduct alleged herein.

       24.   Plaintiff Catherine Senkle was a resident at all relevant times of Hartford, South

Dakota. During the Class Period and while residing in South Dakota, plaintiff Senkle indirectly



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 purchased pork and pork products for her own use and not for resale that was produced by one

 or more defendants or their co-conspirators. Plaintiff Senkle suffered injury as a result of

 defendants’ conduct alleged herein.

B.    Defendants

        25.   Agri Stats, Inc. is an Indiana corporation located in Fort Wayne, Indiana and is a

 subsidiary of Eli Lilly & Co. Throughout the Class Period, Agri Stats acted as a co-conspirator

 of the pork integrator-defendants by facilitating the exchange of confidential, proprietary, and

 competitively sensitive data among defendants and their co-conspirators.

        26.   Clemens Food Group, LLC is a limited-liability company headquartered in

 Hatfield, Pennsylvania. During the class period, Clemens and/or its predecessors, wholly

 owned or controlled subsidiaries, or affiliates sold pork in interstate commerce, directly or

 through its wholly owned or controlled affiliates, to purchasers in the United States.

        27.   Hormel Foods Corporation is a Delaware corporation engaged in the production

 of meat and food products, and the marketing of these products. Hormel Foods is

 headquartered in Austin, Minnesota. During the Class Period, Hormel Foods and/or its

 predecessors, wholly owned or controlled subsidiaries, or affiliates sold pork in interstate

 commerce, directly or through its wholly owned or controlled affiliates, to purchasers in the

 United States.

        28.   Indiana Packers Corporation is an Indiana corporation engaged in the production

 of meat and food products, and the marketing of these products. Indiana Packers is

 headquartered in Delphi, Indiana. During the Class Period, Indiana Packers and/or its

 predecessors, wholly owned or controlled subsidiaries, or affiliates sold pork in interstate

 commerce, directly or through its wholly owned or controlled affiliates, to purchasers in the

 United States.

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       29.   JBS USA is one of the world’s largest beef and pork processing companies and an

indirect wholly owned subsidiary of Brazilian-based JBS SA. JBS USA is a wholly owned

subsidiary of JBS USA Holdings, Inc., which holds a 78.5 percent controlling interest in

Pilgrim’s Pride Corporation, one of the largest chicken-producing companies in the world. JBS

USA is a Delaware corporation, headquartered in Greeley, Colorado. During the Class Period,

JBS USA and/or its predecessors, wholly owned or controlled subsidiaries, or affiliates sold

pork in interstate commerce, directly or through its wholly owned or controlled affiliates, to

purchasers in the United States.

       30.   Seaboard Foods LLC is a limited-liability company headquartered in Shawnee

Mission, Kansas. During the Class Period, Seaboard Foods LLC and/or its predecessors,

wholly owned or controlled subsidiaries, or affiliates sold pork in interstate commerce, directly

or through its wholly owned or controlled affiliates, to purchasers in the United States.

       31.   Smithfield Foods, Inc. is incorporated in the Commonwealth of Virginia, and an

indirect wholly owned subsidiary of WH Group Limited, the largest pork company in the

world. Smithfield Foods is headquartered in Smithfield, Virginia. During the Class Period,

Smithfield Foods, Inc. and/or its predecessors, wholly owned or controlled subsidiaries, or

affiliates sold pork in interstate commerce, directly or through its wholly owned or controlled

affiliates, to purchasers in the United States.

       32.   Triumph Foods, LLC is a limited-liability company headquartered in St. Joseph,

Missouri. During the class period, Triumph Foods and/or its predecessors, wholly owned or

controlled subsidiaries, or affiliates sold pork in interstate commerce, directly or through its

wholly owned or controlled affiliates, to purchasers in the United States.




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             33.   Tyson Foods, Inc. is a publicly traded Delaware corporation headquartered in

 Springdale, Arkansas. During the Class Period, Tyson Foods, Inc. and/or its predecessors,

 wholly owned or controlled subsidiaries, or affiliates sold pork in interstate commerce, directly

 or through its wholly owned or controlled affiliates, to purchasers in the United States.

                                  IV.    FACTUAL ALLEGATIONS

             34.   Starting in at least 2009 and continuing to the present, defendants coordinated to

 fix, raise, maintain and stabilize pork prices. To effectuate and ensure the stability of their

 price-fixing agreement, defendants relied on a unique industry data sharing service known as

 Agri Stats. Agri Stats provided a means for defendants to obtain and monitor critical and

 competitively sensitive business information regarding each other’s production metrics,

 thereby serving as a central and critical part of defendants’ price-fixing scheme, resulting in a

 remarkably stable and successful anticompetitive cartel.

A.         The price-fixing scheme started from Agri Stats’ central role in collusion in the
           broiler industry.

             35.   Agri Stats has played a central role in other industries, including collusion in the

 broiler industry. 5 As alleged in the In re Broiler Chicken Antitrust Litigation, No. 16-cv-08637

 (N.D. Ill.), the broiler producers used Agri Stats as a part of their conspiracy to restrain

 production and inflate prices.

             36.   In the broiler industry, Agri Stats collected and disseminated to the other

 members of the conspiracy disaggregated financial information (such as monthly operating

 profit, sales and cost per live pound), production volumes, capacity, slaughter information,

 inventory levels, sales data for finished product form and type, amongst other pieces of




     5
         Broilers are chickens raised to be slaughtered before the age of 13 weeks.


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competitively sensitive business information. The Agri Stats reports contain line-by-line

entries for plants, lines, and yields of various broiler facilities. Agri Stats relied upon (and the

co-conspirators agreed to) a detailed audit process to verify the accuracy of data from each

broiler producer’s complex, sometimes directly contacting the broiler defendants to verify the

data. Agri Stats also provided detailed price reports to the broiler industry through its

subsidiary, Express Markets, Inc. or EMI. Agri Stats collected data from the broiler producers

on a weekly basis and provided its reports to broiler producers on a weekly and monthly basis.

         37.   The detail of these reports ensured that competitors could quickly decode the

information of their erstwhile competitors. The Broiler complaints allege it was common

knowledge that the detail of the Agri Stats reports allowed any reasonably informed producer

to discern the identity of the competitors’ individual broiler complexes. The broiler reports, in

parts, contained so few producers participating that the identities were obvious. Other reports

contained such detailed data that it could be matched with the publicly stated aggregate data for

larger broiler defendants such as Tyson. The complaints allege that Agri Stats purposefully

circulated this information to top executives to facilitate agreement on supply, constraints, and

price.

         38.   In the broiler industry, it is also alleged that Agri Stats – known to its co-

conspirators to be a willing and informed conduit for illicit information exchanges – used

public and semi-public forums to convey messages to industry participants that furthered the

purposes of the conspiracy by reassuring conspirators that production cuts would continue, and

by inducing them to continue to act in concert to ensure they did. Agri Stats’ own statements in

the broiler industry facilitated the implementation of the agreement to restrict supply – where

Agri Stats would transmit the intentions of the broiler producers to restrict supply.



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          39.   The district court noted, in denying the motions to dismiss in the In re Broiler

 Chicken Antitrust Litigation that given the nature of the Agri Stats reports, the defendants are

 in fact sharing future anticipated production information with one another, which suggests high

 antitrust concerns. 6

B.       After success in the broiler industry, Agri Stats markets its collusive scheme to the
         swine integrators.

          40.   Beginning in at least 2008, Agri Stats began to propose a series of benchmarks to

 the swine industry along the lines of the benchmarks used to restrict competition in the broiler

 industry. Benchmarking is the act of comparing practices, methods or performance against

 those of other companies. Benchmarking, of the type undertaken by Agri Stats and its co-

 conspirators here, reduces strategic uncertainty in the market and changes the incentives for

 competitors to compete, thereby enabling companies to coordinate their market strategies and

 otherwise restrict competition. This is especially true where benchmarking involves the

 exchange of commercially sensitive information between competitors.

          41.   In 2008, Greg Bilbrey of Agri Stats told swine industry producers that

 “Benchmarking in the swine industry could range from simple production comparisons to

 elaborate and sophisticated total production and financial comparisons. Each and every

 commercial swine operation is encouraged to participate in some benchmarking effort.”

          42.   Agri Stats emphasized to pork producers that the goal of the conspiracy (and the

 agreement to share information) was profitability, not production, and invited pork producers

 again, to participate in the benchmarking. Agri Stats emphasized that “We must remember that

 the ultimate goal is increasing profitability – not always increasing the level of production.”


     6
     Memorandum Opinion and Order at 11, In re Broiler Chicken Antitrust Litigation, No. 16-
cv-08637 (N.D. Ill. Nov. 20, 2017), ECF No. 541.


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Furthermore, Agri Stats told the industry that “[e]ach swine production company should be

participating in some type of benchmarking. To gain maximum benefit, production, cost and

financial performance should all be part of the benchmarking program.”

       43.   In April 2009, Agri Stats again invited swine producers to design and operate

their own benchmarking effort. Greg Bilbrey of Agri Stats invited swine producers to design

and operate their own benchmarking effort: “Though all producers may not be part of or fit

into an Agri Stats type benchmarking program, all producers could participate in benchmarking

in some way. Commercial benchmarking opportunities are available. Producer groups could

design and operate their own benchmarking effort.”

       44.   The pork producers did accept this offer, and beginning no later than 2009,

created the detailed benchmarking scheme based upon and found in the Agri Stats reports. The

agreement between the defendants was to use the exchanged benchmarking information to

reduce the supply and stabilize the prices of pork sold in the United States, to provide and

receive information from Agri Stats, and to use this detailed sensitive information for the

purposes of monitoring each other’s production and pricing. As set forth below, so as to

maintain a reduction of production and an increase of price. The agreement was successful as

prices rise significantly after the agreement was reached.

       45.   The scope of commerce of the pork industry is enormous. Total pork sales in the

United States were:

             2016 - $18.9 billion
             2015 - $21.0 billion
             2014 - $26.4 billion
             2013 - $23.4 billion

       46.   Each defendant’s annual sales of pork products are also immense. For example,

in 2016 Smithfield reported $3.7 billion of fresh pork sales, and an additional $5 billion in


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 packaged pork product sales. That same year, Tyson reported $4.9 billion in pork sales. With

 such enormous revenues, the ability to stabilize or increase the margin even in small amounts

 has enormous consequences to profits.

C.    Agri Stats provided pork integrators the unparalleled ability to monitor, or
      discipline co-conspirators for not complying with the collusive agreement.

        47.   Agri Stats provided pork integrators with an unparalleled ability to share critical

 and proprietary information concerning key business metrics, such as production levels and

 short and long-term production capacity. Agri Stats was key to the formation, operation and

 continuing stability of the defendants’ price-fixing scheme. In order to organize an effective

 price-fixing agreement, the participants had to have confidence that each member was

 following through with the agreement by limiting their production and stabilizing prices. Agri

 Stats served that function here.

        48.   Each member of the conspiracy, including swine integrators and defendants

 Clemens, Hormel, Indiana Packers, JBS USA, Seaboard, Smithfield, Triumph, and Tyson,

 were all Agri Stats subscribers. Agri Stats’ parent company, Eli Lilly, stated that “over 90% of

 the poultry and pig market” uses Agri Stats in the United States.

        49.   Agri Stats collects participant financial and production data electronically each

 month. Internal auditors convert the data, prepare it for comparison and perform the monthly

 audits. Each company’s financial data is reconciled to their general ledger to help ensure actual

 costs are reported. Raw numbers are used in Agri Stats’ standardized calculations, so all

 company numbers are calculated the same way.

        50.   Participants in the scheme received monthly detailed reports and graphs that allow

 them to compare their performance and costs to other participants, the average of all

 companies, the top 25 percent and the top five companies. Current month, previous quarter and


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previous twelve-month periods are reported. As of 2009, each monthly report contained nine

sections for analysis and comparison: Performance Summary, Feed Mill, Ingredient

Purchasing, Weaned Pig Production, Nursery, Finishing, Wean-to-Finish, Market Haul, Profit

and Sales. Participants may also receive an abbreviated Key Performance Indicator report, as

well as, historical graphs.

       51.   Because of the nature of the life of a hog, even current and historical information

regarding the production numbers of hogs provides forward-looking supply information to

competitors. The typical hog production cycle lasts about 4 years. This is a function of the hog

biological cycle. Given the length of time needed to breed an existing sow, choose and retain

offspring for breeding, and breed and rear the resulting crop of piglets, it takes nearly 2 years to

substantially increase production.

       52.   One presentation from Agri Stats shows the level of detail provided to

competitors regarding profits in the pork market:




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       53.   The purpose of these reports was not to provide better prices to consumers or to

lower the costs of production. Instead, the clear purpose was to improve the profitability of the

co-conspirators. The particular Agri Stats report referenced above shows the ranking of each

company in profitability and compares the company to its competitors by providing the

variance from the average. On information and belief, the Agri Stats report actually circulated

to competitors contained even further detail. The same presentation informed pork integrators

that one of the “Advantages for Top 25% in Profit” was the “Sales Price: $2 - $6/ckg.” (CKG

refers to 100 kilograms.) This underlines that the purpose of these reports was not to allow

consumers to save more money through lower prices and more efficient production – in fact,

the opposite was true, the purpose was the profitability of the defendant companies and the

impact was higher sales prices for consumers.

       54.   Much of the information shared by Agri Stats and the co-conspirators was

unnecessary to achieve any benefits for consumers. Exchanging individual company data

(particularly current data on prices and costs), is not required to achieve major efficiencies.

       55.   Agri Stats knew that it played a central role in this conspiracy. Agri Stats

repeatedly touted its role in standardizing the costs across companies – allowing the companies

to compare the “apples to apples” of its data analysis between competitors. One presentation

from Agri Stats spoke directly on this point, pointing out to industry participants that they

could not undertake such a detailed cost analysis between competitors without Agri Stats

auditing and standardizing the data:




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       56.   Agri Stats stated that to ensure data contained in the reports was accurate, the

participants had to “[A]gree on calculation and data collection procedures,” they must

“[d]etermine tolerance and outlier status and enforce,” they must “[h]ave an administrator to

compile the data and enforce procedures,” and most importantly, “[e]ach participant has to

commit.”

       57.   In addition to these reports, Agri Stats’ account managers conduct on-site live

reviews to assist with report utilization and analysis. The information provided by Agri Stats

was so detailed that clients frequently requested the site visits by Agri Stats employees to assist

the co-conspirators in understanding the intricacies and implications of the data. Agri Stats’

employees each possessed expertise in a specific area of production, and the value added by

their insights was as important to the producers as the data in the books. The fee for the visits

fluctuated based on the size and other factors.



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       58.   A common saying in the Agri Stats circle is “you cannot produce your way to the

top of the page.” Rather, Agri Stats has stated that “the ultimate goal is increasing profitability

– not simply increasing level of production.”

       59.   In May 2015, a subsidiary of Agri Stats, Express Markets, announced that it was

adding its market analysis of pork to their product offerings in order to meet the broad

information and knowledge needs of its customers. Express Markets started providing its

extensive pricing reports to broiler producers in 2003.

       60.   By providing detailed production statistics by producer, Agri Stats allowed each

member of the conspiracy to monitor each other’s ongoing adherence to agreed-upon plans for

coordinated production limits. Critically, Agri Stats provided forward-looking data that

allowed the co-conspirators to determine each other’s future production in addition to their

current production.

       61.   Agri Stats reports are organized by company and facility, but the producers’

names are not listed in the reports. Nevertheless, while nominally anonymous, the reports

contain such detailed figures covering every aspect of pork production and sales that producers

can accurately identify the companies behind the metrics. For example, long-time industry

insiders are sufficiently familiar with each other to identify unique but recurring data points for

other companies, as well as identify the other companies by general metrics and size.

       62.   Moreover, Agri Stats knew that the anonymity of its system was compromised by

individuals who had gleaned knowledge of competitors’ identification numbers, but

reassigning numbers was an arduous undertaking the company was not eager to embark on.

       63.   Suppliers received as many as one dozen books of data at the end of each quarter,

augmented by smaller monthly update books featuring the latest year-to-date information.



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Within these smaller monthly books, each Supplier’s own rows of year-to-date numbers were

highlighted. In the front of each book, there were also markings indicating whose numbers

were inside the book. The front of the book also included information indicating which other

companies were represented in the data, though which number represented each competitor

was not revealed.

       64.   Agri Stats mailed the reports to customers. On occasion, Agri Stats shipped a

producer’s book to one of its competitors. At times, suppliers just kept their competitors’ books

for future reference, which as noted above revealed the identity of that producer given that

their numbers were highlighted by Agri States in their books.

       65.   Mobility within the meat production industries led to a situation where many

workers at most pork production operations knew the numbers of other regional facilities,

removing any anonymization of the data which existed. Agri Stats would hire industry

participants to work in their offices, and then they would return to the industry knowing each

of the allegedly “anonymous” numbers. Those working at Agri Stats noticed this problem

almost immediately, but did nothing to fix the problem.

       66.   Agri Stats’ critical importance for a collusive scheme in the pork industry lies not

only in the fact that it supplies the data necessary to coordinate production limitations and

manipulate prices, but also in its stabilizing power. Price-fixing cartels are subject to inherent

instability in the absence of policing mechanisms, as each individual member of the cartel may

have incentive to cheat on other members of the cartel, for example by ramping up pork

production to capture higher prices as other cartel members act to limit production. Agri Stats’

detailed production statistics serve as an indispensable monitoring function, allowing each




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 member of the cartel to police each other’s production figures (which were trustworthy because

 they had been verified) for signs of cheating.

        67.   In a February 15, 2017 Bloomberg article relating to Agri Stats’ roles in the

 broiler industry, it was reported:

              Peter Carstensen, a law professor at the University of Wisconsin
              and former Justice Department antitrust lawyer who has studied
              Agri Stats while researching the modern poultry industry, casts the
              level of plant-by-plant detail in the company’s reports as
              “unusual.” He explains that information-sharing services in other
              industries tend to deal in averaged-out aggregated data—for
              example, insurance rates in a given state. Such services run afoul
              of antitrust law, he says, when they offer projections or provide
              data so detailed that no competitor would reasonably share it with
              another. Getting detailed information is a particularly useful form
              of collusion, Carstensen says, because it allows co-conspirators to
              make sure they’re all following through on the agreement. “This is
              one of the ways you do it. You make sure that your co-conspirators
              have the kind of information that gives them confidence—so they
              can trust you, that you’re not cheating on them,” he says. “That is
              what creates stability for a cartel.”

D.    The pork industry is nearly fully vertically integrated, which allowed the scheme to
      succeed.

        68.   The pork production industry is almost completely vertically integrated, with four

 major producers controlling 75 percent of pork integration. Very large pork producers are

 commonly characterized as “contractors” or “integrators” who contract production of their

 hogs out to independent growers. Integration is so pervasive that major producers are

 commonly called pork or swine integrators by the industry, government, analysts and

 academics.

        69.   In 2014, Smithfield had approximately 500 company-owned farms and

 approximately 2,190 contract farms in the United States. Smithfield described its arrangement

 with contract farms as follows:




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              Under our contract farm arrangements, contract farmers provide
              the initial facility investment, labor and frontline management in
              exchange for fixed service fees to raise hogs produced from our
              breeding stock under agreements typically ranging between five
              and ten years. We retain ownership of the hogs raised by our
              contract farmers. In 2014, approximately 76% of Smithfield’s hogs
              produced in the U.S. were finished on contract farms.

        70.   Fully integrated companies have broad control over production processes, and

 near-total operational discretion in deciding how much to produce and when. As is clear from

 Smithfield’s annual report, under these arrangements, the pork integrators pay only fixed

 service fees to the farmers, who bear all of the investment costs of the hog raising facilities.

 The pork integrator, here Smithfield, retains ownership of the hogs at all points in time. This

 arrangement essentially converts independent farmers that own their livestock into contract

 employees that perform services for the pork-packing industry.

E.    The level of concentration in the pork industry was optimal for the alleged collusive
      scheme.

        71.   Prior and in the beginning of the class period, the pork industry underwent a

 period of unprecedented concentration, resulting in a small number of pork integrators

 controlling a large amount of market share. Between 1988 to 2015, the top four pork

 integrators (Smithfield, Tyson, JBS and Hormel) increased their market share from 34 percent

 in 1988 to just under 70 percent by 2015. The top eight integrators had market share of well

 over 80 percent for the entire class period:




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              Figure 1: Market Share of Top 8 Pork Integrators 1991 to 2017




       72.    The hog production sector is horizontally concentrated (only a few companies

buy, slaughter and process the majority of hogs) and vertically integrated (pork packers have

tight contractual relationships with hog producers throughout all stages of production).

Meatpacking concentration levels are among the highest of any industry in the United States,

and well above levels generally considered to elicit non-competitive behavior and result in

adverse economic performance.

       73.    In July 2015, JBS USA announced it would be acquiring Cargill’s pork business

for $1.45 billion. The acquisition joined the third and fourth largest pork packing companies to

surpass Tyson and became the second largest hog processor in the United States, behind only

Smithfield.


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         74.   The acquisition completed in October 2015 and resulted in further consolidation

in the industry. The resulting pork business had pro forma net revenue of approximately

US$6.3 billion, and a processing capacity of about 90,000 hogs per day and two million

pounds of bacon per week. After the acquisition closed, the new JBS-Cargill entity was twice

as large as the next largest pork integrator (Hormel) and four times larger than the fifth and

sixth largest firms (Triumph and Seaboard, each with under five percent of the national

slaughter capacity).

         75.   Barriers to entry kept competitors out of the pork packing industry. New entry

into pork processing is costly and time consuming. Construction of a large-scale slaughter

facility would take hundreds of millions of dollars and the additional planning, design and

permitting costs are substantial. In 2012, it cost Cargill $25 million just to expand an existing

facility. Building a facility from scratch would be considerably more.

         76.   The concentration level in the pork industry was optimal for collusion. WH Group

Limited, the parent company of Smithfield, characterized the U.S. market pork industry as

“relatively mature and concentrated.” Both of these factors – maturity and concentration –

make an industry more susceptible to collusion.

         77.   The level of concentration in the pork industry therefore rested in an ideal zone

for collusion. Because the industry was dominated by a relative handful of integrators, it was

feasible to manipulate price through an agreement among the relatively few dominant players,

whose market power greatly simplified the organizational complexity of the price-fixing

agreement. Further, because none of the largest producers were capable of independently

controlling price through their own production, such an agreement was necessary to inflate

price.



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F.     Abnormal pricing during the class period demonstrates the success of the collusive
       scheme.

         78.   Beginning in 2009, the pork industry showed abnormal price movements.

 According to aggregate prices published by the USDA, the hog market year average price was

 at or below $50 every year between 1998 and 2009, before increasing to $76.30 in 2015. The

 following graph shows the unprecedented increase in swine prices beginning in 2009, and

 staying elevated through 2018:

            Figure 2: Average Hog Wholesale Prices in Cents per lbs, 2000-2018




As this figure demonstrates, pork wholesale prices increased in 2009 and 2014, and continuously

remained at this higher level compared to the years prior to 2009.

         79.   Publicly available (albeit aggregated data) also shows that during this period,

 whole price variation/risk was almost entirely shouldered by farmers, while the pork

 integrators’ earnings increased steadily over the years 2009 to 2017, with a slight decline in

 2017:

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     Figure 3: Integrators and Farmers (Growers) Earning per Retail weight, 2000-2017




G.     Capacity and supply restraints during the class period.

         80.   As demonstrated in the following chart, at several points during the class period,

 the pork integrators acted in a concerted way to decrease supply. In 2009, 2010, and again in

 2013, the pork industry cut production. (The production dip in 2014 reflected the adverse

 impacts from the deadly pig disease, porcine epidemic diarrhea virus, which took place in the

 spring and summer of 2014.) The decreases in production largely occurred after decrease in

 pork wholesale prices:




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       Figure 4: U.S. Annual Commercial Hog Production by Weight, 2000-2017




       81.   In public earnings calls, defendants made statements regarding their intentions to

either stabilize or decrease supply (although gave false reasons for this stabilization). For

example, in May 2009, Larry Pope, the CEO and President of Smithfield stated:

             In terms of chronology of how I say we proactively managed this
             business, in February of last year--February of ‘08, not February of
             ‘09--we made the decision with the over-supply of livestock to
             take the leadership position and start reducing our sow herds
             because we saw the overproduction and the oversupplies of the
             hogs into the market, which was driving our hog market down.
             We started a reduction of 50,000 sows and 1 million of our 18
             million pigs, we started taking out of the system.

       82.   In May 2009, Hormel confirmed that “We see a contraction in the overall supply

of hogs for the year but not as much as we’d originally anticipated. And I would expect that

prices will be somewhat less than last year, but higher than what we’ve seen in the first half of

the year.”

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       83.    In June 2009, the CEO of Smithfield stated that the current cuts were not enough

and more were needed to “fix” the hog industry and that “Somebody else has got to do

something”:

              One of the things that we’re doing is managing what you can do
              and the 3% relates to one of our operations and it’s our -- I’ll tell
              you, it’s our Texas operation that sells pigs to seaboard. Seaboard
              knows that. . . . That 3%, let me say that, our 3% will not fix the
              hog industry. That part I’m confident of. Somebody else has got
              to do something. We cut 13%. The first 10% didn’t fix it. I don’t
              think us going from 10 to 13 is going to fix the hog business.

       84.    In September 2009, the CEO of Smithfield stated that he had conversations with

“sizable large producers” and that they would be doing some liquidation:

              We can’t solve the problem. But the answer to that is yes, I have
              had conversations with several sizable, more than sizable large
              producers, in fact very large producers, and I would tell you they
              are doing some liquidation. But again, I don’t think they can solve
              it.

              I think this industry has got to solve it collectively. I do believe
              everyone is now looking, and when I’m talking to people who are
              financially extremely strong and they are cutting back, that’s got to
              be a statement about those people who are not financially strong.
              But the answer is, yes, there are others cutting back. We’re not
              the only one.

       85.    In March 2010, when asked about fourth quarter and 2011 volumes for pork,

Larry Pope, the CEO of Smithfield indicated that further cuts were still to come:

              Hog volumes for the rest of the fiscal year. That’s going to have
              the impact starting next fiscal year when there is going to be
              13,000 less. But I think we’ll pick up some of that in our other
              operations. But I think 8,000 or 9,000 or 10,000 of those a day will
              disappear from our operations and that represents about 8% of our,
              8% of the hogs will be down. That’s for also the fresh pork side.

       86.    The pork producers acknowledged access to information that allowed them to

know that the supply of pork would not be increasing. For example, in December 2010, Larry

Pope, the CEO of Smithfield stated:


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               We certainly compare ourselves to our competitors as best we can.
               Given the information we think we have public plus what we
               think we know privately, how many they kill, what their
               processing levels are and things like to. This is information you
               may not quite have. And we have been certainly impressed with
               how our competitors have been able to achieve margins that we
               have not been able to achieve because our fresh pork competes
               very competitively with theirs.

Smithfield had access to competitively sensitive information from its competitors, through the

Agri Stats reports, which allowed it to know confidential supply information from its

competitors.

         87.   Supply level information regarding competitors allowed them to know that supply

 would not increase in the future, given the lifecycles of the animals. In February 2011, Tyson’s

 chief operating officer (COO) stated:

               I think there is still a widely held belief that our Beef and Pork
               profitability isn’t sustainable. I want to again explain why we don’t
               believe that is true. If we look at supply, current cattle and hogs
               production levels can’t change much in 2011 because of the limits
               of the animals’ lifecycles.

Again, the way to know the level of production in the industry would be through the provision of

competitively sensitive information by a competitor of Tyson.

         88.   When asked, in the face of ever-increasing margins, whether the type of profits

 would continue, in March 2011, Smithfield publicly signaled to its competitors that it would

 not increase capacity, even in the face of the clear profitability:

               LARRY POPE: We closed last night at nearly $64 for hogs. Yet
               we are projecting over the next 90 days we will be up another 20%
               from that. I mean those are big numbers to get the meat prices in
               the retail and food service case to cover that. . . .

               HEATHER JONES: So you are just striking a note of caution
               because you know it can’t stay this way indefinitely; but it’s not
               that you foresee this reversion to that norm over the near term?




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              BO MANLY: I don’t see it on the horizon, on the foreseeable
              horizon. We are still going to have -- should have good margins,
              but I can’t believe --

              LARRY POPE: Heather, we are sitting here today, we are halfway
              -- closing in on halfway through our fourth quarter, and we have
              had very good margins through February and March, through
              today. We have got double-digit margins today.

              BO MANLY: It will correct itself over the long run, because this
              type of return on investment would attract capital, would attract
              expansion, and we kill more pigs and drive the margins lower. So
              it will either happen by itself or someone is going to build a plant.

              HEATHER JONES: All right, okay. Thank you.

              LARRY POPE: You get two-year visibility on that, though. You
              get to know when somebody is building a plant because they have
              got to file for a permit and they have actually got to build the thing.
              . . . And by the way, we are not going to build a new plant to
              expand capacity.

        89.   In March 2012, the VP of Finance and chief accounting officer of Smithfield

 stated that no one in the industry would be “real excited about adding capacity” when the

 losses of 24 to 36 months ago were considered:

              Nonetheless, you see some pretty significant fluctuations. Just two
              weeks ago, I think we had -- there were rumors the Chinese buying
              corn, and boom, all of a sudden the corn market is up $0.20, $0.30.
              So there is some volatility there. And what I would tell you is that
              keeps a lid on pork production. The pork guys in the United States
              have not forgotten 24 or 36 months ago when there were
              significant losses in the industry. There is no one going to be real
              excited about adding capacity, adding sows at a time when we've
              got such volatility.

H.    Overcharges due to the cartel were passed through to the indirect purchaser class.

        90.   The USDA has stated that high levels of market concentration allow the largest

 participants to extract more of the economic value from food transactions, but “consumers

 typically bear the burden, paying higher prices for goods of lower quality.”




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       91.   As a matter of economic principle, firms must recover the short-run variable costs

of production when they price their products for the market, which ultimately get passed to

consumers in the form of higher retail prices. For a firm to be profitable, the firm must recover

its marginal cost of production. In a perfectly competitive market, firms price at marginal cost

and when marginal costs increase, the cost increases are passed through to the consumer 1:1 or

at a 100 percent pass through rate. As a general matter, the pass through rate will be determined

by the relative elasticities of supply and demand. When demand is inelastic (as it is for pork)

the pass through rate is closer to 100 percent.

       92. The Bureau of Labor Statistics tracks commonly purchased products in its

Consumer Price Index (CPI). Those prices show that the retail price of pork has increased

substantially for consumers over the class period. For example, the price of a pound of bacon

has increased from $3.57 at the end of 2009 to $5.60 at the end of 2017:

    Figure 5: CPI-Average Price Data for Bacon, Sliced, per pound, from 1995-2017




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       93.   Similarly, the CPI index for other pork products, excluding canned ham and

luncheon slices, show a marked increase over the class period, moving from $2.05 per pound at

the end of 2009 to $2.65 at the end of 2017:

     Figure 6: CPI-Average Price Data for Other Pork, per pound, from 1995-2017




       94.   And the CPI index for another commonly purchased consumer item, ham, shows

an increase from $2.15 at the end of 2009 to $2.91 at the end of 2017:

        Figure 7: CPI-Average Price Data for Ham, per pound, from 1995-2017




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            95.   Given these market conditions, the overcharge due to defendants’ anticompetitive

     agreement to stabilize the price and supply of pork was passed on to the end consumers, the

     plaintiffs and classes here.

I.        Defendants actively concealed the conspiracy.

            96.   Throughout the class period, defendants effectively, affirmatively, and

     fraudulently concealed their unlawful combination and conspiracy from plaintiffs and class

     members.

            97.   The combination and conspiracy alleged herein was fraudulently concealed by

     defendants by various means and methods, including, but not limited to secret meetings,

     surreptitious communications between defendants by the use of the telephone or in-person

     meetings in order to prevent the existence of written records, limiting any explicit reference to

     competitor pricing or supply restraint communications on documents, communicating

     competitively sensitive data to one another through Agri Stats - a “proprietary, privileged, and

     confidential” system that kept both the content and participants in the system secret, and

     concealing the existence and nature of their competitor supply restraint and price discussions

     from non-conspirators (including customers).

            98.   In 2009, the President of Agri Stats, Bryan Snyder, commented on how secretive

     the true nature of Agri Stats was, when he stated:

                  Agri Stats has always been kind of a quiet company. There’s not a
                  whole lot of people that know a lot about us obviously due to
                  confidentiality that we try to protect. We don’t advertise. We
                  don’t talk about what we do. It’s always kind of just in the
                  background, and really our specialty is working directly with
                  companies about their opportunities and so forth.

            99.   At the same 2009 presentation, when discussing “bottom line numbers” (a

     company’s net earnings), Mr. Snyder declined to display those numbers publicly stating, “I’m


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not going to display the actual bottom line to the group here just because of the confidentiality

nature of the information.” And yet, despite refusing to show this information publicly,

competitors were provided with the “bottom line numbers” of their competitors on a regular

basis via the reports discussed above. These statements acted to conceal the true detail and

nature of the Agri Stats reports from plaintiffs and the public in general.

       100. At other times, producers attributed the stability in the pork market to other

reasons such as “good programs with our retailers” and “lower grain costs.” As Larry Pope, the

CEO Of Smithfield stated in June 2012:

             KEN ZASLOW: What evidence do you have to actually give you
             some confidence that fresh pork margins will improve sequentially
             throughout the year?

             LARRY POPE: Strong exports, $71 hog today, good programs
             with our retailers, and lower grain cost in the future and a futures
             market that says the hog market's going to be fine. I guess beyond
             that, you've got chicken and beef that are going to be down
             significantly.

             BO MANLY: And I think there is also some optimism that the US
             consumer may have some greater disposable income from less
             gasoline prices and improvement in the economy.

       101. By virtue of the fraudulent concealment of their wrongful conduct by defendants

and all of their co-conspirators, the running of any statute of limitations has been tolled and

suspended with respect to any claims and rights of action that plaintiffs and the other class

members have as a result of the unlawful combination and conspiracy alleged in this

complaint.

                         V.      CLASS ACTION ALLEGATIONS

       102. Plaintiffs bring this action on behalf of themselves, and as a class action under the

Federal Rules of Civil Procedure, Rule 23(a), (b)(2) and (b)(3), seeking injunctive relief

pursuant to federal law, and damages pursuant to various state antitrust, unfair competition,


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unjust enrichment, and consumer protection laws of the states listed below on behalf of the

members of the following classes:

         A.    Nationwide Injunctive Relief class: All persons and entities who indirectly
               purchased pork from Defendants or co-conspirators for personal use in the
               United States during the Class Period.

         B.    Arizona class: All persons and entities who indirectly purchased pork from
               Defendants or co-conspirators for personal use in Arizona during the Class
               Period.

         C.    California class: All persons and entities who indirectly purchased pork from
               Defendants or co-conspirators for personal use in California during the Class
               Period.

         D.    District of Columbia class: All persons and entities who indirectly purchased
               pork from Defendants or co-conspirators for personal use in the District of
               Columbia during the Class Period.

         E.    Florida class: All persons and entities who indirectly purchased pork from
               Defendants or co-conspirators for personal use in Florida during the Class
               Period.

         F.    Hawaii class: All persons and entities who indirectly purchased pork from
               Defendants or co-conspirators for personal use in Hawaii during the Class
               Period.

         G.    Illinois class: All persons and entities who indirectly purchased pork from
               Defendants or co-conspirators for personal use in Illinois during the Class
               Period.

         H.    Iowa class: All persons and entities who indirectly purchased pork from
               Defendants or co-conspirators for personal use in Iowa during the Class Period.

         I.    Kansas class: All persons and entities who indirectly purchased pork from
               Defendants or co-conspirators for personal use in Kansas during the Class
               Period.

         J.    Maine class: All persons and entities who indirectly purchased pork from
               Defendants or co-conspirators for personal use in Maine during the Class
               Period.

         K.    Massachusetts class: All persons and entities who indirectly purchased pork
               from Defendants or co-conspirators for personal use in Massachusetts during
               the Class Period.


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   L.   Michigan class: All persons and entities who indirectly purchased pork from
        Defendants or co-conspirators for personal use in Michigan during the Class
        Period.

   M.   Minnesota class: All persons and entities who indirectly purchased pork from
        Defendants or co-conspirators for personal use in Minnesota during the Class
        Period.

   N.   Mississippi class: All persons and entities who indirectly purchased pork from
        Defendants or co-conspirators for personal use in Mississippi during the Class
        Period.

   O.   Missouri class: All persons and entities who indirectly purchased pork from
        Defendants or co-conspirators for personal use in Missouri during the Class
        Period.

   P.   Montana class: All persons and entities who indirectly purchased pork from
        Defendants or co-conspirators for personal use in Montana during the Class
        Period.

   Q.   Nebraska class: All persons and entities who indirectly purchased pork from
        Defendants or co-conspirators for personal use in Nebraska during the Class
        Period.

   R.   Nevada class: All persons and entities who indirectly purchased pork from
        Defendants or co-conspirators for personal use in Nevada during the Class
        Period.

   S.   New Hampshire class: All persons and entities who indirectly purchased pork
        from Defendants or co-conspirators for personal use in New Hampshire during
        the Class Period.

   T.   New Mexico class: All persons and entities who indirectly purchased pork from
        Defendants or co-conspirators for personal use in New Mexico during the Class
        Period.

   U.   New York class: All persons and who indirectly purchased pork from
        Defendants or co-conspirators for personal use in New York during the Class
        Period.

   V.   North Carolina class: All persons and entities who indirectly purchased pork
        from Defendants or co-conspirators for personal use in North Carolina during
        the Class Period.




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         W.    North Dakota class: All persons and entities who indirectly purchased pork
               from Defendants or co-conspirators for personal use in North Dakota during the
               Class Period.

         X.    Oregon class: All persons and entities who indirectly purchased pork from
               Defendants or co-conspirators for personal use in Oregon during the Class
               Period.

         Y.    Rhode Island class: All persons and entities who indirectly purchased pork
               from Defendants or co-conspirators for personal use in Rhode Island during the
               Class Period.

         Z.    South Carolina class: All persons and entities who indirectly purchased pork
               from Defendants or co-conspirators for personal use in South Carolina during
               the Class Period.

         AA. South Dakota class: All persons and entities who indirectly purchased pork
             from Defendants or co-conspirators for personal use in South Dakota during the
             Class Period.

         BB. Tennessee class: All persons and entities who indirectly purchased pork from
             Defendants or co-conspirators for personal use in Tennessee during the Class
             Period.

         CC. Utah class: All persons and entities who indirectly purchased pork from
             Defendants or co-conspirators for personal use in Utah during the Class Period.

         DD. West Virginia: All persons and entities who indirectly purchased pork from
             Defendants or co-conspirators for personal use in West Virginia during the
             Class Period.

         EE. Wisconsin class: All persons and entities who indirectly purchased pork from
             Defendants or co-conspirators for personal use in Wisconsin during the Class
             Period.

       103. The state classes are collectively referred to as the “classes” unless otherwise

indicated. Specifically excluded from these classes are the defendants; the officers, directors or

employees of any defendant; any entity in which any defendant has a controlling interest; and

any affiliate, legal representative, heir or assign of any defendant. Also excluded from these

classes are any federal, state or local governmental entities, any judicial officer presiding over

this action and the members of his/her immediate family and judicial staff, any juror assigned


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to this action, and any co-conspirator identified in this action. Further excluded from the

classes and National Injunctive Relief Class are purchasers of value-added products not

manufactured, supplied or processed by defendants, or otherwise not under the control of

defendants.

       104. Class Identity: The above-defined classes are readily identifiable and is one for

which records should exist.

       105. Numerosity: Plaintiffs do not know the exact number of class members because

such information presently is in the exclusive control of defendants, retailers, resellers and

other entities in the supply chain of pork. Plaintiffs believe that due to the nature of the trade

and commerce involved, there are thousands of class members geographically dispersed

throughout the United States, such that joinder of all class members is impracticable.

       106. Typicality: Plaintiffs’ claims are typical of the claims of the members of the

classes because plaintiffs purchased pork indirectly from one or more of the defendants for

personal use, and therefore plaintiffs’ claims arise from the same common course of conduct

giving rise to the claims of the classes and the relief sought is common to the classes.

       107. Common Questions Predominate: There are questions of law and fact common to

the classes, including, but not limited to:

         A. Whether defendants and their co-conspirators engaged in an agreement,
            combination, or conspiracy to fix, raise, elevate, maintain, or stabilize prices of
            pork sold in interstate commerce in the United States;

         B. The identity of the participants of the alleged conspiracy;

         C. The duration of the conspiracy alleged herein and the acts performed by
            defendants and their co-conspirators in furtherance of the conspiracy;

         D. Whether the alleged conspiracy violated the antitrust and consumer protection
            laws of the various states;



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           E. Whether the conduct of defendants and their co-conspirators, as alleged in this
              Complaint, caused injury to the business or property of the plaintiffs and the other
              members of the classes;

           F. The effect of defendants’ alleged conspiracy on the prices of pork sold in the
              United States during the Class Period;

           G. Whether plaintiffs and other members of the classes are entitled to, among other
              things, injunctive relief and if so, the nature and extent of such injunctive relief;
              and

           H. The appropriate class-wide measure of damages.

These and other questions of law or fact, which are common to the members of the classes,

predominate over any questions affecting only individual members of the classes.

         108. Adequacy: Plaintiffs will fairly and adequately protect the interests of the classes

 in that plaintiffs’ interests are aligned with, and not antagonistic to, those of the other members

 of the classes who indirectly purchased pork from defendants and plaintiffs have retained

 counsel competent and experienced in the prosecution of class actions and antitrust litigation to

 represent themselves and the classes.

         109. Superiority: A class action is superior to other available methods for the fair and

 efficient adjudication of this controversy since individual joinder of all damaged members of

 the classes is impractical. Prosecution as a class action will eliminate the possibility of

 duplicative litigation. The relatively small damages suffered by individual members of the

 classes compared to the expense and burden of individual prosecution of the claims asserted in

 this litigation means that, absent a class action, it would not be feasible for members of the

 classes to seek redress for the violations of law herein alleged. Further, individual litigation

 presents the potential for inconsistent or contradictory judgments and would greatly magnify

 the delay and expense to all parties and to the court system. Therefore, a class action presents




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far fewer case management difficulties and will provide the benefits of unitary adjudication,

economy of scale and comprehensive supervision by a single court.

       110. The prosecution of separate actions by individual members of the classes would

create the risk of inconsistent or varying adjudications, establishing incompatible standards of

conduct for defendants.

       111. Plaintiffs bring the classes on behalf of all persons similarly situated pursuant to

Rule 23, on behalf of all persons and entities that, as residents of various states, indirectly

purchased one or more pork products that a defendant or co-conspirator produced for personal

use during the respective class periods.

       112. Defendants have acted on grounds generally applicable to the classes, thereby

making final injunctive relief appropriate with respect to the classes as a whole.

                                VI.     ANTITRUST INJURY

       113. Defendants’ anticompetitive conduct had the following effects, among others:

         A. Price competition has been restrained or eliminated with respect to pork;

         B. The prices of pork have been fixed, raised, stabilized, or maintained at artificially

             inflated levels;

         C. Indirect purchasers of pork have been deprived of free and open competition; and

         D. End-user consumers of pork who indirectly purchased pork for personal use,

             including plaintiffs, paid artificially inflated prices.

       114. The pork that Plaintiffs and class members purchased was in substantially the

same form as when they were initially sold by defendants. As a result, the pork follows a

traceable physical chain from defendants to plaintiffs and class members, and the overcharges

on pork can be traced from defendants to plaintiffs and class members.



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       115. As discussed in detail above in Section IV.H., as a matter of economic principle,

firms must recover the short-run variable costs of production when they price their products for

the market, which ultimately get passed to consumers, plaintiffs and class members here, in the

form of higher retail prices. When demand is inelastic, as it is for pork, the pass-through rate to

end users is at or near 100 percent.

       116. Consequently, while the direct purchasers were the first to pay supra-competitive

prices, the overcharge was passed along the distribution chain and absorbed by plaintiffs and

class members when they purchased the pork for personal use.

       117. Commonly used and well-accepted economic models can be used to measure both

the extent and the amount of the supra-competitive charge passed through the chain of

distribution to end-user consumers. Thus, the economic harm to plaintiffs and the class

member can be quantified.

       118. The purpose of the conspiratorial conduct of defendants and their co-conspirators

was to raise, fix, or maintain the price of pork and, as a direct and foreseeable result. Plaintiffs

and the classes paid supra-competitive prices for pork during the Class Period.

       119. By reason of the alleged violations of the antitrust laws, plaintiffs and the classes

have sustained injury to their businesses or property, having paid higher prices for pork than

they would have paid in the absence of defendants’ illegal contract, combination, or conspiracy

and as a result have suffered damages.

       120. This is an antitrust injury of the type that the antitrust laws were meant to punish

and prevent.




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                                VII.    CAUSES OF ACTION

                          VIOLATION OF THE SHERMAN ACT

                     FIRST CLAIM FOR RELIEF
           VIOLATION OF SECTION 1 OF THE SHERMAN ACT
                            15 U.S.C. § 1
  (ON BEHALF OF NATIONWIDE CLASS FOR INJUNCTIVE AND EQUITABLE
                             RELIEF)

        121. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

        122. Beginning at a time currently unknown to plaintiffs, but at least as early as

January 1, 2009, and continuing through the present, the exact dates being unknown to

plaintiffs, defendants and their co-conspirators entered into a continuing agreement,

understanding, and conspiracy in restraint of trade artificially to fix, raise, and stabilize price

for pork in the United States, in violation of Section 1 of the Sherman Act (15 U.S.C. § 1).

        123. In formulating and carrying out the alleged agreement, understanding, and

conspiracy, defendants and their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices, and course of conduct set forth

above, and the following, among others:

          A. Fixing, raising, and stabilizing the price of pork; and

          B. Allocating among themselves and collusively reducing the production of pork.

        124. The combination and conspiracy alleged herein has had the following effects,

among others:

              A. Price competition in the sale of pork has been restrained, suppressed, and/or

                  eliminated in the United States;




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             B. Prices for pork sold by defendants and all of their co-conspirators have been

                 fixed, raised, maintained and stabilized at artificially high, non-competitive

                 levels throughout the United States; and

             C. Those who purchased pork indirectly from defendants and their co-

                 conspirators for their personal use have been deprived of the benefits of free

                 and open competition.

       125. Plaintiffs and members of the classes have been injured and will continue to be

injured in their businesses and property by paying more for pork purchased indirectly from the

defendants and their co-conspirators for their personal use than they would have paid and will

pay in the absence of the combination and conspiracy.

       126. Plaintiffs and members of the classes are entitled to an injunction against

defendants, preventing and restraining the violations alleged herein.

                     VIOLATIONS OF STATE ANTITRUST LAWS

       127. Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       128. The following claims for relief are pleaded under the antitrust laws of each

jurisdiction identified below on behalf of the indicated class.

                      SECOND CLAIM FOR RELIEF
        VIOLATION OF ARIZONA’S UNIFORM STATE ANTITRUST ACT,
                   ARIZ. REV. STAT. § 44-1401, ET SEQ.
                 (ON BEHALF OF THE ARIZONA CLASS)

       129. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this complaint.

       130. By reason of the conduct alleged herein, defendants have violated Arizona Rev.

Stat. § 44-1401, et seq.




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        131. Defendants entered into a contract, combination, or conspiracy between two or

more persons in restraint of, or to monopolize, trade or commerce in the pork market, a

substantial part of which occurred within Arizona.

        132. Defendants established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the pork market, a substantial part of which occurred

within Arizona, for the purpose of excluding competition or controlling, fixing, or maintaining

prices in the pork market.

        133. Defendants’ violations of Arizona law were flagrant.

        134. Defendants’ unlawful conduct substantially affected Arizona’s trade and

commerce.

        135. As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs and

members of the Arizona Class have been injured in their business or property and are

threatened with further injury.

        136. By reason of the foregoing, plaintiffs and members of the Arizona Class are

entitled to seek all forms of relief available under Arizona Revised Statute § 44-1401, et seq.

                          THIRD CLAIM FOR RELIEF
                VIOLATION OF CALIFORNIA’S CARTWRIGHT ACT,
                    CAL. BUS. & PROF. CODE § 16700, ET SEQ.
                   (ON BEHALF OF THE CALIFORNIA CLASS)

        137. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

        138. The California Business & Professions Code generally governs conduct of

corporate entities. The Cartwright Act, Cal. Bus. & Prof. Code §§ 16700-16770, governs

antitrust violations in California.




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       139. California policy is that “vigorous representation and protection of consumer

interests are essential to the fair and efficient functioning of a free enterprise market economy,”

including by fostering competition in the marketplace. Cal. Bus. & Prof. Code § 301.

       140. Under the Cartwright Act, indirect purchasers have standing to maintain an action

based on the facts alleged in this Complaint. Cal. Bus. & Prof. Code § 16750(a).

       141. A trust in California is any combination intended for various purposes, including

but not limited to creating or carrying out restrictions in trade or commerce, limiting or

reducing the production or increasing the price of merchandise, or preventing competition in

the market for a commodity. Cal. Bus. & Prof. Code § 16720. Every trust in California is

unlawful except as provided by the Code. Id. at § 16726.

       142. Plaintiffs purchased pork within the State of California during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of pork would have been

lower, in an amount to be determined at trial.

       143. Defendants enacted a combination of capital, skill or acts for the purpose of

creating and carrying out restrictions in trade or commerce, in violation of Cal. Bus. & Prof.

Code § 16700, et seq.

       144. Plaintiffs and members of the California Class were injured in their business or

property, with respect to purchases of pork in California and are entitled to all forms of relief,

including recovery of treble damages, interest, and injunctive relief, plus reasonable attorneys’

fees and costs.




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                      FOURTH CLAIM FOR RELIEF
        VIOLATION OF THE DISTRICT OF COLUMBIA ANTITRUST ACT,
                       D.C. CODE § 28-4501, ET SEQ.
            (ON BEHALF OF THE DISTRICT OF COLUMBIA CLASS)

       145. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       146. The policy of District of Columbia Code, Title 28, Chapter 45 (Restraints of

Trade) is to “promote the unhampered freedom of commerce and industry throughout the

District of Columbia by prohibiting restraints of trade and monopolistic practices.”

       147. Plaintiffs purchased pork within the District of Columbia during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of pork would have been

lower, in an amount to be determined at trial.

       148. Under District of Columbia law, indirect purchasers have standing to maintain an

action under the antitrust provisions of the D.C. Code based on the facts alleged in this

Complaint, because “any indirect purchaser in the chain of manufacture, production or

distribution of goods . . . shall be deemed to be injured within the meaning of this chapter.”

D.C. Code § 28-4509(a).

       149. Defendants contracted, combined or conspired to act in restraint of trade within

the District of Columbia, and monopolized or attempted to monopolize the market for pork

within the District of Columbia, in violation of D.C. Code § 28-4501, et seq.

       150. Plaintiffs and members of the District of Columbia Class were injured with

respect to purchases of pork in the District of Columbia and are entitled to all forms of relief,

including actual damages, treble damages, and interest, reasonable attorneys’ fees and costs.




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                            FIFTH CLAIM FOR RELIEF
                  VIOLATION OF THE ILLINOIS ANTITRUST ACT,
                    740 ILL. COMP. STAT. ANN. 10/3(1), ET SEQ.
                      (ON BEHALF OF THE ILLINOIS CLASS)

       151. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       152. The Illinois Antitrust Act, 740 ILCS 10/1, et seq., aims “to promote the

unhampered growth of commerce and industry throughout the State by prohibiting restraints of

trade which are secured through monopolistic or oligarchic practices and which act or tend to

act to decrease competition between and among persons engaged in commerce and trade. . . .”

740 ILCS 10/2.

       153. Plaintiffs purchased pork within the State of Illinois during the Class Period. But

for defendants’ conduct set forth herein, the price per pound of pork would have been lower, in

an amount to be determined at trial.

       154. Under the Illinois Antitrust Act, indirect purchasers have standing to maintain an

action for damages based on the facts alleged in this Complaint. 740 ILCS 10/7(2).

       155. Defendants made contracts or engaged in a combination or conspiracy with each

other, though they would have been competitors but for their prior agreement, for the purpose

of fixing, controlling or maintaining prices for pork sold, and/or for allocating customers or

markets for pork within the intrastate commerce of Illinois.

       156. Defendants further unreasonably restrained trade or commerce and established,

maintained or attempted to acquire monopoly power over the market for pork in Illinois for the

purpose of excluding competition, in violation of 740 ILCS 10/1, et seq.




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       157. Plaintiffs and members of the Illinois Class were injured with respect to purchases

of pork in Illinois and are entitled to all forms of relief, including actual damages, treble

damages, reasonable attorneys’ fees and costs.

                           SIXTH CLAIM FOR RELIEF
                  VIOLATION OF THE IOWA COMPETITION LAW
                          IOWA CODE § 553.1, ET SEQ.
                       (ON BEHALF OF THE IOWA CLASS)

       158. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       159. The Iowa Competition Law aims to “prohibit[] restraint of economic activity and

monopolistic practices.” Iowa Code § 553.2.

       160. Plaintiffs purchased pork within the State of Iowa during the Class Period. But for

defendants’ conduct set forth herein, the price per pound of pork would have been lower, in an

amount to be determined at trial.

       161. Defendants contracted, combined or conspired to restrain or monopolize trade in

the market for pork, and attempted to establish or did in fact establish a monopoly for the

purpose of excluding competition or controlling, fixing or maintaining prices for pork, in

violation of Iowa Code § 553.1, et seq.

       162. Plaintiffs and members of the Iowa Class were injured with respect to purchases

of pork in Iowa, and are entitled to all forms of relief, including actual damages, exemplary

damages for willful conduct, reasonable attorneys’ fees and costs, and injunctive relief.

                       SEVENTH CLAIM FOR RELIEF
            VIOLATION OF THE KANSAS RESTRAINT OF TRADE ACT
                      KAN. STAT. ANN. § 50-101, ET SEQ.
                    (ON BEHALF OF THE KANSAS CLASS)

       163. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

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       164. The Kansas Restraint of Trade Act aims to prohibit practices which, inter alia,

“tend to prevent full and free competition in the importation, transportation or sale of articles

imported into this state.” Kan. Stat. Ann. § 50-112.

       165. Plaintiffs purchased pork within the State of Kansas during the Class Period. But

for defendants’ conduct set forth herein, the price per pound of pork would have been lower, in

an amount to be determined at trial.

       166. Under the Kansas Restraint of Trade Act, indirect purchasers have standing to

maintain an action based on the facts alleged in this Complaint. Kan. Stat. Ann § 50-161(b).

       167. Defendants combined capital, skill or acts for the purposes of creating restrictions

in trade or commerce of pork, increasing the price of pork, preventing competition in the sale

of pork, or binding themselves not to sell pork, in a manner that established the price of pork

and precluded free and unrestricted competition among themselves in the sale of pork, in

violation of Kan. Stat. Ann. § 50-101, et seq.

       168. Plaintiffs and members of the Kansas Class were injured with respect to purchases

of pork in Kansas and are entitled to all forms of relief, including actual damages, reasonable

attorneys’ fees and costs, and injunctive relief.

                         EIGHTH CLAIM FOR RELIEF
               VIOLATION OF THE MAINE’S ANTITRUST STATUTE
                   ME. REV. STAT. ANN. TIT. 10 § 1101, ET SEQ.
                     (ON BEHALF OF THE MAINE CLASS)

       169. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       170. Part 3 of Title 10 the Maine Revised Statutes generally governs regulation of

trade in Maine. Chapter 201 thereof governs monopolies and profiteering, generally prohibiting




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contracts in restraint of trade and conspiracies to monopolize trade. Me. Rev. Stat. Ann. Tit.

10, §§ 1101-02.

       171. Plaintiffs purchased pork within the State of Maine during the Class Period. But

for defendants’ conduct set forth herein, the price per pound of pork would have been lower, in

an amount to be determined at trial.

       172. Under Maine law, indirect purchasers have standing to maintain an action based

on the facts alleged in this Complaint. Me. Rev. Stat. Ann. Tit. 10, § 1104(1).

       173. Defendants contracted, combined or conspired in restraint of trade or commerce

of pork within the intrastate commerce of Maine, and monopolized or attempted to monopolize

the trade or commerce of pork within the intrastate commerce of Maine, in violation of Me.

Rev. Stat. Ann. Tit. 10, § 1101, et seq.

       174. Plaintiffs and members of the Maine Class were injured with respect to purchases

of pork in Maine and are entitled to all forms of relief, including actual damages, treble

damages, reasonable attorneys’ and experts’ fees and costs.

                        NINTH CLAIM FOR RELIEF
           VIOLATION OF THE MICHIGAN ANTITRUST REFORM ACT
                   MICH. COMP. LAWS § 445.771, ET SEQ.
                  (ON BEHALF OF THE MICHIGAN CLASS)

       175. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       176. The Michigan Antitrust Reform Act aims “to prohibit contracts, combinations,

and conspiracies in restraint of trade or commerce . . . to prohibit monopolies and attempts to

monopolize trade or commerce . . . [and] to provide remedies, fines, and penalties for

violations of this act.” Mich. Act 274 of 1984.




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       177. Plaintiffs purchased pork within the State of Michigan during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of pork would have been

lower, in an amount to be determined at trial.

       178. Under the Michigan Antitrust Reform Act, indirect purchasers have standing to

maintain an action based on the facts alleged in this Complaint. Mich. Comp. Laws. §

452.778(2).

       179. Defendants contracted, combined or conspired to restrain or monopolize trade or

commerce in the market for pork, in violation of Mich. Comp. Laws § 445.772, et seq.

       180. Plaintiffs and members of the Michigan Class were injured with respect to

purchases of pork in Michigan and are entitled to all forms of relief, including actual damages,

treble damages for flagrant violations, interest, costs, reasonable attorneys’ fees, and injunctive

or other appropriate equitable relief.

                          TENTH CLAIM FOR RELIEF
                VIOLATION OF THE MINNESOTA ANTITRUST LAW,
                         MINN. STAT. § 325D.49, ET SEQ.
                    (ON BEHALF OF THE MINNESOTA CLASS)

       181. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       182. The Minnesota Antitrust Law of 1971 aims to prohibit any contract, combination

or conspiracy when any part thereof was created, formed, or entered into in Minnesota; any

contract, combination or conspiracy, wherever created, formed or entered into; any

establishment, maintenance or use of monopoly power; and any attempt to establish, maintain

or use monopoly power, whenever any of these affect Minnesota trade or commerce.




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       183. Plaintiffs purchased pork within the State of Minnesota during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of pork would have been

lower, in an amount to be determined at trial.

       184. Under the Minnesota Antitrust Act of 1971, indirect purchasers have standing to

maintain an action based on the facts alleged in this Complaint. Minn. Stat. § 325D.56.

       185. Defendants contracted, combined or conspired in unreasonable restraint of trade

or commerce in the market for pork within the intrastate commerce of and outside of

Minnesota; established, maintained, used or attempted to establish, maintain or use monopoly

power over the trade or commerce in the market for pork within the intrastate commerce of and

outside of Minnesota; and fixed prices and allocated markets for pork within the intrastate

commerce of and outside of Minnesota, in violation of Minn. Stat. § 325D.49, et seq.

       186. Plaintiffs and members of the Minnesota Class were injured with respect to

purchases of pork in Minnesota and are entitled to all forms of relief, including actual damages,

treble damages, costs and disbursements, reasonable attorneys’ fees, and injunctive relief

necessary to prevent and restrain violations hereof.

                      ELEVENTH CLAIM FOR RELIEF
             VIOLATION OF THE MISSISSIPPI ANTITRUST STATUTE,
                     MISS. CODE ANN. § 74-21-1, ET SEQ.
                  (ON BEHALF OF THE MISSISSIPPI CLASS)

       187. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       188. Title 75 of the Mississippi Code regulates trade, commerce and investments.

Chapter 21 thereof generally prohibits trusts and combines in restraint or hindrance of trade,

with the aim that “trusts and combines may be suppressed, and the benefits arising from

competition in business [are] preserved” to Mississippians. Miss. Code Ann. § 75-21-39.


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        189. Trusts are combinations, contracts, understandings or agreements, express or

implied, when inimical to the public welfare and with the effect of, inter alia, restraining trade,

increasing the price or output of a commodity, or hindering competition in the production or

sale of a commodity. Miss. Code Ann. § 75-21-1.

        190. Plaintiffs purchased pork within the State of Mississippi during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of pork would have been

lower, in an amount to be determined at trial.

        191. Under Mississippi law, indirect purchasers have standing to maintain an action

under the antitrust provisions of the Mississippi Code based on the facts alleged in this

Complaint. Miss. Code Ann. § 75-21-9.

        192. Defendants combined, contracted, understood and agreed in the market for pork,

in a manner inimical to public welfare, with the effect of restraining trade, increasing the price

of pork and hindering competition in the sale of pork, in violation of Miss. Code Ann. § 75-21-

1(a), et seq.

        193. Defendants monopolized or attempted to monopolize the production, control or

sale of pork, in violation of Miss. Code Ann. § 75-21-3, et seq.

        194. Defendants’ pork is sold indirectly via distributors throughout the State of

Mississippi. During the Class Period, defendants’ illegal conduct substantially affected

Mississippi commerce.

        195. Plaintiffs and members of the Mississippi Class were injured with respect to

purchases of pork in Mississippi and are entitled to all forms of relief, including actual

damages and a penalty of $500 per instance of injury.




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                     TWELFTH CLAIM FOR RELIEF
      VIOLATION OF THE MISSOURI MERCHANDISING PRACTICES ACT,
                    MO. ANN. STAT. § 407.010, ET SEQ.
                 (ON BEHALF OF THE MISSOURI CLASS)

          196. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

          197. Chapter 407 of the Missouri Merchandising Practices Act (the “MMPA”)

generally governs unlawful business practices, including antitrust violations such as restraints

of trade and monopolization.

          198. Plaintiffs purchased pork within the State of Missouri during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of pork would have been

lower, in an amount to be determined at trial.

          199. Under Missouri law, indirect purchasers have standing to maintain an action

under the MMPA based on the facts alleged in this Complaint. Gibbons v. J. Nuckolls, Inc.,

216 S.W.3d 667, 669 (Mo. 2007).

          200. Defendants contracted, combined or conspired in restraint of trade or commerce

of pork within the intrastate commerce of Missouri, and monopolized or attempted to

monopolize the market for pork within the intrastate commerce of Missouri by possessing

monopoly power in the market and willfully maintaining that power through agreements to fix

prices, allocate markets and otherwise control trade, in violation of Mo. Ann. Stat. § 407.010,

et seq.

          201. Plaintiffs and members of the Missouri Class were injured with respect to

purchases of pork in Missouri and are entitled to all forms of relief, including actual damages

or liquidated damages in an amount which bears a reasonable relation to the actual damages

which have been sustained, as well as reasonable attorneys’ fees, costs, and injunctive relief.


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                        THIRTEENTH CLAIM FOR RELIEF
                   VIOLATION OF THE NEBRASKA JUNKIN ACT,
                         NEB. REV. STAT. § 59-801, ET SEQ.
                     (ON BEHALF OF THE NEBRASKA CLASS)

        202. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

        203. Chapter 59 of the Nebraska Revised Statute generally governs business and trade

practices. Sections 801 through 831 thereof, known as the Junkin Act, prohibit antitrust

violations such as restraints of trade and monopolization.

        204. Plaintiffs purchased pork within the State of Nebraska during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of pork would have been

lower, in an amount to be determined at trial.

        205. Under Nebraska law, indirect purchasers have standing to maintain an action

under the Junkin Act based on the facts alleged in this Complaint. Neb. Rev. Stat. § 59-821.

        206. Defendants contracted, combined or conspired in restraint of trade or commerce

of pork within the intrastate commerce of Nebraska, and monopolized or attempted to

monopolize the market for pork within the intrastate commerce of Nebraska by possessing

monopoly power in the market and willfully maintaining that power through agreements to fix

prices, allocate markets and otherwise control trade, in violation of Neb. Rev. Stat. § 59-801, et

seq.

        207. Plaintiffs and members of the Nebraska Class were injured with respect to

purchases of pork in Nebraska and are entitled to all forms of relief, including actual damages

or liquidated damages in an amount which bears a reasonable relation to the actual damages

which have been sustained, as well as reasonable attorneys’ fees, costs, and injunctive relief.




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                    FOURTEENTH CLAIM FOR RELIEF
        VIOLATION OF THE NEVADA UNFAIR TRADE PRACTICES ACT,
                   NEV. REV. STAT. § 598A.010, ET SEQ.
                  (ON BEHALF OF THE NEVADA CLASS)

       208. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       209. The Nevada Unfair Trade Practice Act (“NUTPA”) states that “free, open and

competitive production and sale of commodities...is necessary to the economic well-being of

the citizens of the State of Nevada.” Nev. Rev. Stat. Ann. § 598A.030(1).

       210. The policy of NUTPA is to prohibit acts in restraint of trade or commerce, to

preserve and protect the free, open and competitive market, and to penalize all persons engaged

in anticompetitive practices. Nev. Rev. Stat. Ann. § 598A.030(2). Such acts include, inter alia,

price fixing, division of markets, allocation of customers, and monopolization of trade. Nev.

Rev. Stat. Ann. § 598A.060.

       211. Plaintiffs purchased pork within the State of Nevada during the Class Period. But

for defendants’ conduct set forth herein, the price per pound of pork would have been lower, in

an amount to be determined at trial.

       212. Under Nevada law, indirect purchasers have standing to maintain an action under

NUTPA based on the facts alleged in this Complaint. Nev. Rev. Stat. Ann. §598A.210(2).

       213. Defendants fixed prices by agreeing to establish prices for pork in Nevada,

divided Nevada markets, allocated Nevada customers, and monopolized or attempted

monopolize trade or commerce of pork within the intrastate commerce of Nevada, constituting

a contract, combination or conspiracy in restraint of trade in violation of Nev. Rev. Stat. Ann. §

598A, et seq.




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        214. Plaintiffs and members of the Nevada Class were injured with respect to

purchases of pork in Nevada in that at least thousands of sales of defendants’ pork took place

in Nevada, purchased by Nevada consumers at supra-competitive prices caused by defendants’

conduct.

        215. Accordingly, plaintiffs and members of the Nevada Class are entitled to all forms

of relief, including actual damages, treble damages, reasonable attorneys’ fees, costs, and

injunctive relief.

        216. In accordance with the requirements of § 598A.210(3), notice of this action was

mailed to the Nevada Attorney General by plaintiffs.

                       FIFTEENTH CLAIM FOR RELIEF
            VIOLATION OF NEW HAMPSHIRE’S ANTITRUST STATUTE,
                 N.H. REV. STAT. ANN. TIT. XXXI, § 356, ET SEQ.
                (ON BEHALF OF THE NEW HAMPSHIRE CLASS)

        217. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

        218. Title XXXI of the New Hampshire Statutes generally governs trade and

commerce. Chapter 356 thereof governs combinations and monopolies and prohibits restraints

of trade. N.H. Rev. Stat. Ann. §§ 356:2, 3.

        219. Plaintiffs purchased pork within the State of New Hampshire during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would have

been lower, in an amount to be determined at trial.

        220. Under New Hampshire law, indirect purchasers have standing to maintain an

action based on the facts alleged in this Complaint. N.H. Rev. Stat. Ann. § 356:11(II).

        221. Defendants fixed, controlled or maintained prices for pork, allocated customers or

markets for pork, and established, maintained or used monopoly power, or attempted to,


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constituting a contract, combination or conspiracy in restraint of trade in violation of N.H. Rev.

Stat. Ann. § 356:1, et seq.

        222. Plaintiffs and members of the New Hampshire Class were injured with respect to

purchases of pork in New Hampshire and are entitled to all forms of relief, including actual

damages sustained, treble damages for willful or flagrant violations, reasonable attorneys’ fees,

costs, and injunctive relief.

                        SIXTEENTH CLAIM FOR RELIEF
               VIOLATION OF THE NEW MEXICO ANTITRUST ACT,
                       N.M. STAT. ANN. §§ 57-1-1, ET SEQ.
                   (ON BEHALF OF THE NEW MEXICO CLASS)

        223. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

        224. The New Mexico Antitrust Act aims to prohibit restraints of trade and

monopolistic practices. N.M. Stat. Ann. 57-1-15.

        225. Plaintiffs purchased pork within the State of New Mexico during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of pork would have been

lower, in an amount to be determined at trial.

        226. Under New Mexico law, indirect purchasers have standing to maintain an action

based on the facts alleged in this Complaint. N.M. Stat. Ann. § 57-1-3.

        227. Defendants contracted, agreed, combined or conspired, and monopolized or

attempted to monopolize trade for pork within the intrastate commerce of New Mexico, in

violation of N.M. Stat. Ann. § 57-1-1, et seq.

        228. Plaintiffs and members of the New Mexico Class were injured with respect to

purchases of pork in New Mexico and are entitled to all forms of relief, including actual

damages, treble damages, reasonable attorneys’ fees, costs, and injunctive relief.


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                SEVENTEENTH CLAIM FOR RELIEF
VIOLATION OF SECTION 340 OF THE NEW YORK GENERAL BUSINESS LAW
              (ON BEHALF OF THE NEW YORK CLASS)

       229. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       230. Article 22 of the New York General Business Law general prohibits monopolies

and contracts or agreements in restraint of trade, with the policy of encouraging competition or

the free exercise of any activity in the conduct of any business, trade or commerce in New

York. N.Y. Gen. Bus. Law § 340(1).

       231. Plaintiffs purchased pork within the State of New York during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of pork would have been

lower, in an amount to be determined at trial.

       232. Under New York law, indirect purchasers have standing to maintain an action

based on the facts alleged in this Complaint. N.Y. Gen. Bus. Law § 340(6).

       233. Defendants established or maintained a monopoly within the intrastate commerce

of New York for the trade or commerce of pork and restrained competition in the free exercise

of the conduct of the business of pork within the intrastate commerce of New York, in

violation of N.Y. Gen. Bus. Law § 340, et seq.

       234. Plaintiffs and members of the New York Class were injured with respect to

purchases of pork in New York and are entitled to all forms of relief, including actual damages,

treble damages, costs not exceeding $10,000, and reasonable attorneys’ fees.




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                    EIGHTEENTH CLAIM FOR RELIEF
         VIOLATION OF THE NORTH CAROLINA GENERAL STATUTES,
                      N.C. GEN. STAT. § 75-1, ET SEQ.
              (ON BEHALF OF THE NORTH CAROLINA CLASS)

        235. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

        236. Defendants entered into a contract or combination in the form of trust or

otherwise, or conspiracy in restraint of trade or commerce in the pork market, a substantial part

of which occurred within North Carolina.

        237. Defendants established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the pork market, for the purpose of affecting competition

or controlling, fixing, or maintaining prices, a substantial part of which occurred within North

Carolina.

        238. Defendants’ unlawful conduct substantially affected North Carolina’s trade and

commerce.

        239. As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs and

the members of the North Carolina Class have been injured in their business or property and

are threatened with further injury.

        240. By reason of the foregoing, plaintiffs and members of the North Carolina Class

are entitled to seek all forms of relief available, including treble damages, under N.C. Gen.

Stat. § 75-1, et seq.

                  NINETEENTH CLAIM FOR RELIEF
  VIOLATION OF THE NORTH DAKOTA UNIFORM STATE ANTITRUST ACT,
                  N.D. CENT. CODE § 51-08.1, ET SEQ.
             (ON BEHALF OF THE NORTH DAKOTA CLASS)

        241. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

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        242. The North Dakota Uniform State Antitrust Act generally prohibits restraints on or

monopolization of trade. N.D. Cent. Code § 51-08.1, et seq.

        243. Plaintiffs purchased pork within the State of North Dakota during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would have

been lower, in an amount to be determined at trial.

        244. Under the North Dakota Uniform State Antitrust Act, indirect purchasers have

standing to maintain an action based on the facts alleged in this Complaint. N.D. Cent. Code §

51-08.1-08.

        245. Defendants contracted, combined or conspired in restraint of, or to monopolize

trade or commerce in the market for pork, and established, maintained, or used a monopoly, or

attempted to do so, for the purposes of excluding competition or controlling, fixing or

maintaining prices for pork, in violation of N.D. Cent. Code §§ 51-08.1-02, 03.

        246. Plaintiffs and members of the North Dakota Class were injured with respect to

purchases in North Dakota and are entitled to all forms of relief, including actual damages,

treble damages for flagrant violations, costs, reasonable attorneys’ fees, and injunctive or other

equitable relief.

                          TWENTIETH CLAIM FOR RELIEF
                    VIOLATION OF THE OREGON ANTITRUST LAW,
                          OR. REV. STAT. § 646.705, ET SEQ.
                        (ON BEHALF OF THE OREGON CLASS)

        247. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

        248. Chapter 646 of the Oregon Revised Statutes generally governs business and trade

practices within Oregon. Sections 705 through 899 thereof govern antitrust violations, with the




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policy to “encourage free and open competition in the interest of the general welfare and

economy of the state.” Or. Rev. Stat. § 646.715.

       249. Plaintiffs purchased pork within the State of Oregon during the Class Period. But

for defendants’ conduct set forth herein, the price per pound of pork would have been lower, in

an amount to be determined at trial.

       250. Under Oregon law, indirect purchasers have standing under the antitrust

provisions of the Oregon Revised Statutes to maintain an action based on the facts alleged in

this Complaint. Or. Rev. Stat. § 646.780(1)(a).

       251. Defendants contracted, combined, or conspired in restraint of trade or commerce

of pork, and monopolized or attempted to monopolize the trade or commerce of pork, in

violation of Or. Rev. Stat. § 646.705, et seq.

       252. Plaintiffs and members of the Oregon Class were injured with respect to

purchases of pork within the intrastate commerce of Oregon, or alternatively to interstate

commerce involving actual or threatened injury to persons located in Oregon, and are entitled

to all forms of relief, including actual damages, treble damages, reasonable attorneys’ fees,

expert witness fees and investigative costs, and injunctive relief.

                      TWENTY-FIRST CLAIM FOR RELIEF
              VIOLATION OF THE RHODE ISLAND ANTITRUST ACT,
                        R.I. GEN LAWS § 6-36-1, ET SEQ.
                  (ON BEHALF OF THE RHODE ISLAND CLASS)

       253. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       254. The Rhode Island Antitrust Act aims to promote the unhampered growth of

commerce and industry throughout Rhode Island by prohibiting unreasonable restraints of




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trade and monopolistic practices that hamper, prevent or decrease competition. R.I. Gen. Laws

§ 636-2(a)(2).

         255. Plaintiffs purchased pork within the State of Rhode Island during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would have

been lower, in an amount to be determined at trial.

         256. Under the Rhode Island Antitrust Act, as of January 1, 2008, indirect purchasers

have standing to maintain an action based on the facts alleged in this Complaint. R.I. Gen.

Laws § 6-36-11(a). In Rhode Island, the claims of plaintiffs and the Class alleged herein run

from January 1, 2008, through the date that the effects of defendants’ anticompetitive conduct

cease.

         257. Defendants contracted, combined and conspired in restraint of trade of pork

within the intrastate commerce of Rhode Island, and established, maintained or used, or

attempted to establish, maintain or use, a monopoly in the trade of pork for the purpose of

excluding competition or controlling, fixing or maintaining prices within the intrastate

commerce of Rhode Island, in violation of R.I. Gen. Laws § 6-36-1, et seq.

         258. Plaintiffs and members of the Rhode Island Class were injured with respect to

purchases of pork in Rhode Island and are entitled to all forms of relief, including actual

damages, treble damages, reasonable costs, reasonable attorneys’ fees, and injunctive relief.

                   TWENTY-SECOND CLAIM FOR RELIEF
           VIOLATION OF THE SOUTH DAKOTA ANTITRUST STATUTE,
                   S.D. CODIFIED LAWS § 37-1-3.1, ET SEQ.
                (ON BEHALF OF THE SOUTH DAKOTA CLASS)

         259. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.




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        260. Chapter 37-1 of the South Dakota Codified Laws prohibits restraint of trade,

monopolies and discriminatory trade practices. S.D. Codified Laws §§ 37-1- 3.1, 3.2.

        261. Plaintiffs purchased pork within the State of South Dakota during the Class

Period. But for defendants’ conduct set forth herein, the price per pound of pork would have

been lower, in an amount to be determined at trial.

        262. Under South Dakota law, indirect purchasers have standing under the antitrust

provisions of the South Dakota Codified Laws to maintain an action based on the facts alleged

in this Complaint. S.D. Codified Laws § 37-1-33.

        263. Defendants contracted, combined or conspired in restraint of trade or commerce

of pork within the intrastate commerce of South Dakota, and monopolized or attempted to

monopolize trade or commerce of pork within the intrastate commerce of South Dakota, in

violation of S.D. Codified Laws § 37-1, et seq.

        264. Plaintiffs and members of the South Dakota Class were injured with respect to

purchases of pork in South Dakota and are entitled to all forms of relief, including actual

damages, treble damages, taxable costs, reasonable attorneys’ fees, and injunctive or other

equitable relief.

                    TWENTY-THIRD CLAIM FOR RELIEF
            VIOLATION OF THE TENNESSEE TRADE PRACTICES ACT,
                      TENN. CODE, § 47-25-101, ET SEQ.
                  (ON BEHALF OF THE TENNESSEE CLASS)

        265. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

        266. The Tennessee Trade Practices Act generally governs commerce and trade in

Tennessee, and it prohibits, inter alia, all arrangements, contracts, agreements, or combinations

between persons or corporations made with a view to lessen, or which tend to lessen, full and


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free competition in goods in Tennessee. All such arrangements, contracts, agreements, or

combinations between persons or corporations designed, or which tend, to increase the prices

of any such goods, are against public policy, unlawful, and void. Tenn. Code, § 47-25-101.

       267. Defendants competed unfairly and colluded by meeting to fix prices, divide

markets, and otherwise restrain trade as set forth herein, in violation of Tenn. Code, § 47-25-

101, et seq.

       268. Defendant’s conduct violated the Tennessee Trade Practice Act because it was an

arrangement, contract, agreement, or combination to lessen full and free competition in goods

in Tennessee, and because it tended to increase the prices of goods in Tennessee. Specifically,

defendants’ combination or conspiracy had the following effects: (1) price competition for

pork was restrained, suppressed, and eliminated throughout Tennessee; (2) prices for pork were

raised, fixed, maintained and stabilized at artificially high levels throughout Tennessee; (3)

Plaintiffs and the Tennessee Class were deprived of free and open competition; and (4)

Plaintiffs and the Tennessee Class paid supra-competitive, artificially inflated prices for pork.

       269. During the Class Period, defendants’ illegal conduct had a substantial effect on

Tennessee commerce as pork was sold in Tennessee.

       270. Plaintiffs and the Tennessee Class purchased pork within the State of Tennessee

during the Class Period. But for defendants’ conduct set forth herein, the price per pound of

pork would have been lower, in an amount to be determined at trial. As a direct and proximate

result of defendants’ unlawful conduct, plaintiffs and the Tennessee Class have been injured in

their business and property and are threatened with further injury




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       271. Under Tennessee law, indirect purchasers (such as plaintiffs and the Tennessee

Class) have standing under the Tennessee Trade Practice Acts to maintain an action based on

the facts alleged in this Complaint.

       272. Plaintiffs and members of the Tennessee Class were injured with respect to

purchases of pork in Tennessee and are entitled to all forms of relief available under the law,

including return of the unlawful overcharges that they paid on their purchases, damages,

equitable relief, and reasonable attorneys’ fees.

                      TWENTY-FOURTH CLAIM FOR RELIEF
                    VIOLATION OF THE UTAH ANTITRUST ACT,
                       UTAH CODE ANN. §§ 76-10-911, ET SEQ.
                        (ON BEHALF OF THE UTAH CLASS)

       273. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       274. The Utah Antitrust Act aims to “encourage free and open competition in the

interest of the general welfare and economy of this state by prohibiting monopolistic and unfair

trade practices, combinations and conspiracies in restraint of trade or commerce . . . .” Utah

Code Ann. § 76-10-3102.

       275. Plaintiffs purchased pork within the State of Utah during the Class Period. But for

defendants’ conduct set forth herein, the price per pound of pork would have been lower, in an

amount to be determined at trial.

       276. Under the Utah Antitrust Act, indirect purchasers who are either Utah residents or

Utah citizens have standing to maintain an action based on the facts alleged in this Complaint.

Utah Code Ann. § 76-10-3109(1)(a).




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        277. Defendants contracted, combined or conspired in restraint of trade or commerce

of pork, and monopolized or attempted to monopolize trade or commerce of pork, in violation

of Utah Code Ann. § 76-10-3101, et seq.

        278. Plaintiffs and members of the Utah Class who are either Utah residents or Utah

citizens were injured with respect to purchases of pork in Utah and are entitled to all forms of

relief, including actual damages, treble damages, costs of suit, reasonable attorneys’ fees, and

injunctive relief.

                        TWENTY-FIFTH CLAIM FOR RELIEF
                VIOLATION OF THE WEST VIRGINIA ANTITRUST ACT,
                           W. VA. CODE §47-18-1, ET SEQ.
                    (ON BEHALF OF THE WEST VIRGINIA CLASS)

        279. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

        280. The violations of federal antitrust law set forth above also constitute violations of

section 47-18-1 of the West Virginia Code.

        281. During the Class Period, defendants and their co-conspirators engaged in a

continuing contract, combination or conspiracy in unreasonable restraint of trade and

commerce and other anticompetitive conduct alleged above in violation of W. Va. Code § 47-

18-1, et seq.

        282. Defendants’ anticompetitive acts described above were knowing, willful and

constitute violations or flagrant violations of the West Virginia Antitrust Act.

        283. As a direct and proximate result of defendants’ unlawful conduct, plaintiffs and

members of the West Virginia Class have been injured in their business and property in that

they paid more for pork than they otherwise would have paid in the absence of defendants’

unlawful conduct. As a result of defendants’ violation of Section 47-18-3 of the West Virginia


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Antitrust Act, plaintiffs and members of the West Virginia Class seek treble damages and their

cost of suit, including reasonable attorneys’ fees, pursuant to section 47-18-9 of the West

Virginia Code.

                       TWENTY-SIXTH CLAIM FOR RELIEF
                 VIOLATION OF THE WISCONSIN ANTITRUST ACT,
                        WIS. STAT. ANN. § 133.01(1), ET SEQ.
                     (ON BEHALF OF THE WISCONSIN CLASS)

        284. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

        285. Chapter 133 of the Wisconsin Statutes governs trust and monopolies, with the

intent “to safeguard the public against the creation or perpetuation of monopolies and to foster

and encourage competition by prohibiting unfair and discriminatory business practices which

destroy or hamper competition.” Wis. Stat. § 133.01.

        286. Plaintiffs purchased pork within the State of Wisconsin during the Class Period.

But for defendants’ conduct set forth herein, the price per pound of pork would have been

lower, in an amount to be determined at trial.

        287. Under Wisconsin law, indirect purchasers have standing under the antitrust

provisions of the Wisconsin Statutes to maintain an action based on the facts alleged in this

Complaint. Wis. Stat. 133.18(a).

        288. Defendants contracted, combined or conspired in restraint of trade or commerce

of pork, and monopolized or attempted to monopolize the trade or commerce of pork, with the

intention of injuring or destroying competition therein, in violation of Wis. Stat. § 133.01, et

seq.

        289. Plaintiffs and members of the Wisconsin Class were injured with respect to

purchases of pork in Wisconsin in that the actions alleged herein substantially affected the


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people of Wisconsin, with at least thousands of consumers in Wisconsin paying substantially

higher prices for defendants’ pork in Wisconsin.

       290. Accordingly, plaintiffs and members of the Wisconsin Class are entitled to all

forms of relief, including actual damages, treble damages, costs and reasonable attorneys’ fees,

and injunctive relief.

       291. Defendants’ and their co-conspirators’ anticompetitive activities have directly,

foreseeably and proximately caused injury to the Wisconsin Class. Their injuries consist of: (1)

being denied the opportunity to purchase lower-priced pork from defendants, and (2) paying

higher prices for defendants’ pork than they would have in the absence of defendants’ conduct.

These injuries are of the type of the laws of Wisconsin were designed to prevent, and flow

from that which makes defendants’ conduct unlawful.

       292. Defendants are jointly and severally liable for all damages suffered by plaintiffs

and members of the Wisconsin Class.

            VIOLATIONS OF STATE CONSUMER PROTECTION LAWS

       293. Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       294. The following claims for relief are pled under the consumer protection or similar

laws of each jurisdiction identified below, on behalf of the indicated class.

                   TWENTY-SEVENTH CLAIM FOR RELIEF
          VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW
             CAL. BUS. & PROF. CODE § 17200, ET SEQ. (THE “UCL”)
                  (ON BEHALF OF THE CALIFORNIA CLASS)

       295. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       296. The violations of federal antitrust law set forth above also constitute violations of

section 17200, et seq. of California Business and Professions Code.


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       297. Defendants have engaged in unfair competition or unfair, unconscionable,

deceptive or fraudulent acts or practices in violation of the UCL by engaging in the acts and

practices specified above.

       298. This claim is instituted pursuant to sections 17203 and 17204 of California

Business and Professions Code, to obtain restitution from these defendants for acts, as alleged

herein, that violated the UCL.

       299. The defendants’ conduct as alleged herein violated the UCL. The acts, omissions,

misrepresentations, practices and non-disclosures of defendants, as alleged herein, constituted a

common, continuous, and continuing course of conduct of unfair competition by means of

unfair, unlawful, and/or fraudulent business acts or practices within the meaning of the UCL,

including, but not limited to, the violations of section 16720, et seq., of California Business and

Professions Code, set forth above.

       300. Defendants’ acts, omissions, misrepresentations, practices, and non- disclosures,

as described above, whether or not in violation of section 16720, et seq., of California Business

and Professions Code, and whether or not concerted or independent acts, are otherwise unfair,

unconscionable, unlawful or fraudulent.

       301. Plaintiffs and members of the California Class are entitled to full restitution

and/or disgorgement of all revenues, earnings, profits, compensation, and benefits that may

have been obtained by defendants as a result of such business acts or practices.

       302. The illegal conduct alleged herein is continuing and there is no indication that

defendants will not continue such activity into the future.

       303. The unlawful and unfair business practices of defendants, and each of them, as

described above, have caused and continue to cause plaintiffs and the members of the



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California Class to pay supra-competitive and artificially inflated prices for pork sold in the

State of California. Plaintiffs and the members of the California Class suffered injury in fact

and lost money or property as a result of such unfair competition.

       304. As alleged in this Complaint, defendants and their co-conspirators have been

unjustly enriched as a result of their wrongful conduct and by defendants’ unfair competition.

Plaintiffs and the members of the California Class are accordingly entitled to equitable relief

including restitution and/or disgorgement of all revenues, earnings, profits, compensation, and

benefits that may have been obtained by defendants as a result of such business practices,

pursuant to California Business and Professions Code sections 17203 and 17204.

                TWENTY-EIGHTH CLAIM FOR RELIEF
  VIOLATION OF THE DISTRICT OF COLUMBIA CONSUMER PROTECTION
                         PROCEDURES ACT,
                    D.C. CODE § 28-3901, ET SEQ.
         (ON BEHALF OF THE DISTRICT OF COLUMBIA CLASS)

       305. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       306. Plaintiffs and members of the District of Columbia Class purchased pork for

personal, family, or household purposes.

       307. By reason of the conduct alleged herein, defendants have violated D.C. Code §

28-3901, et seq.

       308. Defendants are “merchants” within the meaning of D.C. Code § 28- 3901(a)(3).

       309. Defendants entered into a contract, combination, or conspiracy between two or

more persons in restraint of, or to monopolize, trade or commerce in the Pork market, a

substantial part of which occurred within the District of Columbia.

       310. Defendant established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the pork market, a substantial part of which occurred

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within the District of Columbia, for the purpose of excluding competition or controlling,

fixing, or maintaining prices in the Pork Market.

       311. Defendants’ conduct was an unfair method of competition, and an unfair or

deceptive act or practice within the conduct of commerce within the District of Columbia.

       312. Defendants’ unlawful conduct substantially affected the District of Columbia’s

trade and commerce.

       313. As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs and

members of the District of Columbia Class have been injured in their business or property and

are threatened with further injury.

       314. By reason of the foregoing, plaintiffs and members of the District of Columbia

Class are entitled to seek all forms of relief, including treble damages or $1500 per violation

(whichever is greater) plus punitive damages, reasonable attorney’s fees and costs under D.C.

Code § 28-3901, et seq.

                      TWENTY-NINTH CLAIM FOR RELIEF
                  VIOLATION OF THE FLORIDA DECEPTIVE AND
                       UNFAIR TRADE PRACTICES ACT,
                        FLA. STAT. § 501.201(2), ET SEQ.
                     (ON BEHALF OF THE FLORIDA CLASS)

       315. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       316. The Florida Deceptive & Unfair Trade Practices Act, Florida Stat. §§ 501.201, et

seq. (the “FDUTPA”), generally prohibits “unfair methods of competition, unconscionable acts

or practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce,”

including practices in restraint of trade. Florida Stat. § 501.204(1).

       317. The primary policy of the FDUTPA is “[t]o protect the consuming public and

legitimate business enterprises from those who engage in unfair methods of competition, or

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unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or

commerce.” Florida Stat. § 501.202(2).

        318. A claim for damages under the FDUTPA has three elements: (1) a prohibited

practice; (2) causation; and (3) actual damages.

        319. Under Florida law, indirect purchasers have standing to maintain an action under

the FDUTPA based on the facts alleged in this Complaint. Fla. Stat. § 501.211(a) (“anyone

aggrieved by a violation of this [statute] may bring an action . . .”).

        320. Plaintiffs purchased pork within the State of Florida during the Class Period. But

for defendants’ conduct set forth herein, the price per pound of pork would have been lower, in

an amount to be determined at trial.

        321. Defendants entered into a contract, combination or conspiracy between two or

more persons in restraint of, or to monopolize, trade or commerce in the pork market, a

substantial part of which occurred within Florida.

        322. Defendants established, maintained or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the market for pork, for the purpose of excluding

competition or controlling, fixing or maintaining prices in Florida at a level higher than the

competitive market level, beginning at least as early as 2008 and continuing through the date of

this filing.

        323. Accordingly, defendants’ conduct was an unfair method of competition, and an

unfair or deceptive act or practice within the conduct of commerce within the State of Florida.

        324. Defendants’ unlawful conduct substantially affected Florida’s trade and

commerce.




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         325. As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs and

 the members of the Florida Class have been injured in their business or property by virtue of

 overcharges for pork and are threatened with further injury.

         326. By reason of the foregoing, plaintiffs and the members of the Florida Class is

 entitled to seek all forms of relief, including injunctive relief pursuant to Florida Stat. §501.208

 and declaratory judgment, actual damages, reasonable attorneys’ fees and costs pursuant to

 Florida Stat. § 501.211.

                   THIRTIETH CLAIM FOR RELIEF
VIOLATION OF THE HAWAII REVISED STATUTES ANNOTATED §§ 480-1, ET SEQ.
                   (ON BEHALF OF HAWAII CLASS)

         327. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

 allegation set forth in the preceding paragraphs of this Complaint.

         328. Defendants have engaged in unfair competition or unfair, unconscionable, or

 deceptive acts or practices in violation of the Hawaii Revised Statutes Annotated §§ 480-1, et

 seq.

         329. Defendants’ unlawful conduct had the following effects: (1) pork price

 competition was restrained, suppressed, and eliminated throughout Hawaii; (2) pork prices

 were, fixed, maintained, and stabilized at artificially high levels throughout Hawaii; (3)

 Plaintiffs and members of the Hawaii Class were deprived of free and open competition; and

 (4) Plaintiffs and members of the Hawaii Class paid supra-competitive, artificially inflated

 prices for pork.

         330. During the Class Period, Defendants’ illegal conduct substantially affected

 Hawaii commerce and consumers.

         331. As a direct and proximate result of Defendants’ unlawful conduct, plaintiffs and

 members of the Hawaii Class have been injured and are threatened with further injury.

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                  THIRTY-FIRST CLAIM FOR RELIEF
VIOLATION OF THE ILLINOIS CONSUMER FRAUD AND DECEPTIVE BUSINESS
                          PRACTICES ACT,
              815 ILL. COMP. STAT. ANN. 505/10A, ET SEQ.
                (ON BEHALF OF THE ILLINOIS CLASS)

       332. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       333. By reason of the conduct alleged herein, defendants have violated 740 Ill. Comp.

Stat. Ann. 10/3(1), et seq.

       334. Defendants entered into a contract, combination, or conspiracy between two or

more persons in restraint of, or to monopolize, trade or commerce in the pork market, a

substantial part of which occurred within Illinois.

       335. Defendants established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the pork market, a substantial part of which occurred

within Illinois, for the purpose of excluding competition or controlling, fixing, or maintaining

prices in the pork market.

       336. Defendants’ conduct was unfair, unconscionable, or deceptive within the conduct

of commerce within the State of Illinois.

       337. Defendants’ conduct misled consumers, withheld material facts, and resulted in

material misrepresentations to plaintiffs and members of the classes.

       338. Defendants’ unlawful conduct substantially affected Illinois’s trade and

commerce.

       339. As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs and

members of the Illinois Class were actually deceived and have been injured in their business or

property and are threatened with further injury.



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       340. By reason of the foregoing, plaintiffs and members of the Illinois Class are

entitled to seek all forms of relief, including actual damages or any other relief the Court deems

proper under 815 Ill. Comp. Stat. Ann. 505/10a, et seq.

                THIRTY-SECOND CLAIM FOR RELIEF
   VIOLATION OF THE MASSACHUSETTS CONSUMER PROTECTION ACT,
                MASS. GEN. LAWS CH. 93A § 1, ET SEQ.
            (ON BEHALF OF THE MASSACHUSETTS CLASS)

       341. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       342. Plaintiffs reserve their right to bring a claim under Mass. Gen. Laws Ch. 93A et

seq. Pursuant to Mass. Gen. Laws Ch. 93A § 9, plaintiffs served all defendants on June 27,

2018, via certified mail, return receipt requested, Demand for Payment Letters. In accordance

with the statute, these letters explained the unfair acts, the injury suffered, and requested relief

from the defendants within 30 days. If necessary, plaintiffs will amend to add specific claims

under Mass. Gen. Laws Ch. 93A et seq.

                   THIRTY-THIRD CLAIM FOR RELIEF
        VIOLATION OF THE MICHIGAN CONSUMER PROTECTION ACT,
                MICH. COMP. LAWS ANN. § 445.901, ET SEQ.
                 (ON BEHALF OF THE MICHIGAN CLASS)

       343. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       344. By reason of the conduct alleged herein, defendants have violated Mich. Comp.

Laws Ann. § 445.901, et seq.

       345. Defendants have entered into a contract, combination, or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the pork market, a

substantial part of which occurred within Michigan.




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       346. Defendants established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the pork market, for the purpose of excluding or limiting

competition or controlling or maintaining prices, a substantial part of which occurred within

Michigan.

       347. Defendants’ conduct was conducted with the intent to deceive Michigan

consumers regarding the nature of defendants’ actions within the stream of Michigan

commerce.

       348. Defendants’ conduct was unfair, unconscionable, or deceptive within the conduct

of commerce within the State of Michigan.

       349. Defendants’ conduct misled consumers, withheld material facts, and took

advantage of plaintiffs and members-of-the-classes’ inability to protect themselves.

       350. Defendants’ unlawful conduct substantially affected Michigan’s trade and

commerce.

       351. As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs and

members of the Michigan Class have been injured in their business or property and are

threatened with further injury.

       352. By reason of the foregoing, plaintiffs and the Michigan Class are entitled to seek

all forms of relief available under Mich. Comp. Laws Ann. § 445.911.

                     THIRTY-FOURTH CLAIM FOR RELIEF
            VIOLATION OF THE MINNESOTA CONSUMER FRAUD ACT,
                        MINN. STAT. § 325F.68, ET SEQ.
                   (ON BEHALF OF THE MINNESOTA CLASS)

       353. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.




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       354. By reason of the conduct alleged herein, defendants have violated Minn. Stat. §

325F.68, et seq.

       355. Defendants engaged in a deceptive trade practice with the intent to injure

competitors and consumers through supra-competitive profits.

       356. Defendants established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the pork market, a substantial part of which occurred

within Minnesota, for the purpose of controlling, fixing, or maintaining prices in the pork

market.

       357. Defendants’ conduct was unfair, unconscionable, or deceptive within the conduct

of commerce within the State of Minnesota.

       358. Defendants’ conduct, specifically in the form of fraudulent concealment of their

horizontal agreement, created a fraudulent or deceptive act or practice committed by a supplier

in connection with a consumer transaction.

       359. Defendants’ unlawful conduct substantially affected Minnesota’s trade and

commerce.

       360. Defendants’ conduct was willful.

       361. As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs and

the members of the Minnesota Class have been injured in their business or property and are

threatened with further injury.

       362. By reason of the foregoing, plaintiffs and the members of the Minnesota Class are

entitled to seek all forms of relief, including damages, reasonable attorneys’ fees and costs

under Minn. Stat. § 325F.68, et seq. and applicable case law.




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                 THIRTY- FIFTH CLAIM FOR RELIEF
VIOLATION OF THE MONTANA UNFAIR TRADE PRACTICES AND CONSUMER
                     PROTECTION ACT OF 1970,
       MONT. CODE, §§ 30-14-103, ET SEQ., AND §§ 30-14-201, ET. SEQ.
               (ON BEHALF OF THE MONTANA CLASS)

       363. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       364. Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Montana Unfair Trade Practices and Consumer

Protection Act of 1970, Mont. Code, §§ 30-14-103, et seq., and §§ 30-14-201, et. seq.

       365. Defendants’ unlawful conduct had the following effects: (1) pork price

competition was restrained, suppressed, and eliminated throughout Montana; (2) pork prices

were raised, fixed, maintained, and stabilized at artificially high levels throughout Montana; (3)

Plaintiffs and members of the Montana Class were deprived of free and open competition; and

(4) Plaintiffs and members of the Montana Class paid supra-competitive, artificially inflated

prices for pork.

       366. During the Class Period, defendants’ illegal conduct substantially affected

Montana commerce and consumers.

       367. As a direct and proximate result of defendants’ unlawful conduct, plaintiffs and

members of the Montana Class have been injured and are threatened with further injury.

Defendants have engaged in unfair competition or unfair or deceptive acts or practices in

violation of Mont. Code, §§ 30-14-103, et seq., and §§ 30-14-201, et. seq., and, accordingly,

plaintiffs and members of the Montana Class seek all relief available under that statute.




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                  THIRTY-SIXTH CLAIM FOR RELIEF
       VIOLATION OF THE NEBRASKA CONSUMER PROTECTION ACT,
                   NEB. REV. STAT. § 59-1602, ET SEQ.
                (ON BEHALF OF THE NEBRASKA CLASS)

       368. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       369. By reason of the conduct alleged herein, defendants have violated Neb. Rev. Stat.

§ 59-1602, et seq.

       370. Defendants have entered into a contract, combination, or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the pork market, a

substantial part of which occurred within Nebraska.

       371. Defendants established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the pork market, for the purpose of excluding or limiting

competition or controlling or maintaining prices, a substantial part of which occurred within

Nebraska.

       372. Defendants’ conduct was conducted with the intent to deceive Nebraska

consumers regarding the nature of defendants’ actions within the stream of Nebraska

commerce.

       373. Defendants’ conduct was unfair, unconscionable, or deceptive within the conduct

of commerce within the State of Nebraska.

       374. Defendants’ conduct misled consumers, withheld material facts, and had a direct

or indirect impact upon plaintiffs and members of the Nevada Class’s ability to protect

themselves.

       375. Defendants’ unlawful conduct substantially affected Nebraska’s trade and

commerce.


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       376. As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs and

the members of the Nebraska Class have been injured in their business or property and are

threatened with further injury.

       377. By reason of the foregoing, plaintiffs and members of the Nebraska Class are

entitled to seek all forms of relief available under Neb. Rev. Stat. § 59- 1614.

                 THIRTY-SEVENTH CLAIM FOR RELIEF
      VIOLATION OF THE NEVADA DECEPTIVE TRADE PRACTICES ACT,
                   NEV. REV. STAT. § 598.0903, ET SEQ.
                 (ON BEHALF OF THE NEVADA CLASS)

       378. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       379. By reason of the conduct alleged herein, defendants have violated Nev. Rev. Stat.

§ 598.0903, et seq.

       380. Defendants engaged in a deceptive trade practice with the intent to injure

competitors and to substantially lessen competition.

       381. Defendants established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the pork market, a substantial part of which occurred

within Nevada, for the purpose of excluding competition or controlling, fixing, or maintaining

prices in the pork market.

       382. Defendants’ conduct was unfair, unconscionable, or deceptive within the conduct

of commerce within the State of Nevada.

       383. Defendants’ conduct amounted to a fraudulent act or practice committed by a

supplier in connection with a consumer transaction.

       384. Defendants’ unlawful conduct substantially affected Nevada’s trade and

commerce.


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        385. Defendants’ conduct was willful.

        386. As a direct and proximate cause of defendants’ unlawful conduct, the members of

the Nevada Class have been injured in their business or property and are threatened with

further injury.

        387. By reason of the foregoing, the Nevada Class is entitled to seek all forms of relief,

including damages, reasonable attorneys’ fees and costs, and a civil penalty of up to $5,000 per

violation under Nev. Rev. Stat. § 598.0993.

                 THIRTY-EIGHTH CLAIM FOR RELIEF
   VIOLATION OF THE NEW HAMPSHIRE CONSUMER PROTECTION ACT,
            N.H. REV. STAT. ANN. TIT. XXXI, § 358-A, ET SEQ.
            (ON BEHALF OF THE NEW HAMPSHIRE CLASS)

        388. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

        389. By reason of the conduct alleged herein, defendants have violated N.H. Rev. Stat.

Ann. tit. XXXI, § 358-A, et seq.

        390. Defendants have entered into a contract, combination, or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the pork market, a

substantial part of which occurred within New Hampshire.

        391. Defendants established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the pork market, for the purpose of excluding or limiting

competition or controlling or maintaining prices, a substantial part of which occurred within

New Hampshire.

        392. Defendants’ conduct was conducted with the intent to deceive New Hampshire

consumers regarding the nature of defendants’ actions within the stream of New Hampshire

commerce.


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       393. Defendants’ conduct was unfair or deceptive within the conduct of commerce

within the State of New Hampshire.

       394. Defendants’ conduct was willful and knowing.

       395. Defendants’ conduct misled consumers, withheld material facts, and had a direct

or indirect impact upon plaintiffs and members of the New Hampshire Class’s ability to protect

themselves.

       396. Defendants’ unlawful conduct substantially affected New Hampshire’s trade and

commerce.

       397. As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs and

the members of the New Hampshire Class have been injured in their business or property and

are threatened with further injury.

       398. By reason of the foregoing, plaintiffs and the members of the New Hampshire

Class are entitled to seek all forms of relief available under N.H. Rev. Stat. Ann. tit. XXXI, §§

358-A:10 and 358-A:10-a.

                    THIRTY-NINTH CLAIM FOR RELIEF
          VIOLATION OF THE NEW MEXICO UNFAIR PRACTICES ACT,
                     N.M. STAT. ANN. §§ 57-12-3, ET SEQ.
                 (ON BEHALF OF THE NEW MEXICO CLASS)

       399. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       400. By reason of the conduct alleged herein, defendants have violated N.M. Stat. Ann.

§§ 57-12-3, et seq.

       401. Defendants entered into a contract, combination, or conspiracy between two or

more persons in restraint of, or to monopolize, trade or commerce in the pork market, a

substantial part of which occurred within New Mexico.


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       402. Defendants established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the pork market, a substantial part of which occurred

within New Mexico, for the purpose of excluding competition or controlling, fixing, or

maintaining prices in the pork market.

       403. Defendants’ conduct was unfair, unconscionable, or deceptive within the conduct

of commerce within the State of New Mexico.

       404. Defendants’ conduct misled consumers, withheld material facts, and resulted in

material misrepresentations to plaintiffs and members of the New Mexico Class.

       405. Defendants’ unlawful conduct substantially affected New Mexico’s trade and

commerce.

       406. Defendants’ conduct constituted “unconscionable trade practices” in that such

conduct, inter alia, resulted in a gross disparity between the value received by the New Mexico

Class members and the price paid by them for pork as set forth in N.M. Stat. Ann. § 57-12-2E.

       407. Defendants’ conduct was willful.

       408. As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs and

the members of the New Mexico Class have been injured in their business or property and are

threatened with further injury.

       409. By reason of the foregoing, plaintiffs and members of the New Mexico Class are

entitled to seek all forms of relief, including actual damages or up to $300 per violation,

whichever is greater, plus reasonable attorney’s fees under N.M. Stat. Ann. §§ 57-12-10.




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                   FORTIETH CLAIM FOR RELIEF
   VIOLATION OF THE NORTH CAROLINA UNFAIR TRADE AND BUSINESS
                          PRACTICES ACT,
                   N.C. GEN. STAT. § 75-1.1, ET SEQ.
            (ON BEHALF OF THE NORTH CAROLINA CLASS)

       410. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       411. By reason of the conduct alleged herein, defendants have violated N.C. Gen. Stat.

§ 75-1.1, et seq.

       412. Defendants entered into a contract, combination, or conspiracy in restraint of, or

to monopolize, trade or commerce in the pork market, a substantial part of which occurred

within North Carolina.

       413. Defendants’ conduct was unfair, unconscionable, or deceptive within the conduct

of commerce within the State of North Carolina.

       414. Defendants’ trade practices are and have been immoral, unethical, unscrupulous,

and substantially injurious to consumers.

       415. Defendants’ conduct misled consumers, withheld material facts, and resulted in

material misrepresentations to plaintiffs and members of the North Carolina Class.

       416. Defendants’ unlawful conduct substantially affected North Carolina’s trade and

commerce.

       417. Defendants’ conduct constitutes consumer-oriented deceptive acts or practices

within the meaning of North Carolina law, which resulted in consumer injury and broad

adverse impact on the public at large, and harmed the public interest of North Carolina

consumers in an honest marketplace in which economic activity is conducted in a competitive

manner.



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        418. As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs and

the members of the North Carolina Class have been injured in their business or property and

are threatened with further injury.

        419. By reason of the foregoing, plaintiffs and the members of the North Carolina

Class are entitled to seek all forms of relief, including treble damages under N.C. Gen. Stat. §

7516.

                 FORTY-FIRST CLAIM FOR RELIEF
  VIOLATION OF THE NORTH DAKOTA UNFAIR TRADE PRACTICES LAW,
                  N.D. CENT. CODE § 51-10, ET SEQ.
            (ON BEHALF OF THE NORTH DAKOTA CLASS)

        420. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

        421. By reason of the conduct alleged herein, defendants have violated N.D. Cent.

Code § 51-10-01, et seq.

        422. Defendants engaged in a deceptive trade practice with the intent to injure

competitors and consumers through supra-competitive profits.

        423. Defendants established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the pork market, a substantial part of which occurred

within North Dakota, for the purpose of controlling, fixing, or maintaining prices in the pork

market.

        424. Defendants’ conduct was unfair, unconscionable, or deceptive within the conduct

of commerce within the State of North Dakota.

        425. Defendants’ conduct amounted to a fraudulent or deceptive act or practice

committed by a supplier in connection with a consumer transaction.




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       426. Defendants’ unlawful conduct substantially affected North Dakota’s trade and

commerce.

       427. Defendants’ conduct was willful.

       428. As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs and

the members of the North Dakota Class have been injured in their business or property and are

threatened with further injury.

       429. By reason of the foregoing, plaintiffs and the members of the North Dakota Class

are entitled to seek all forms of relief, including damages and injunctive relief under N.D. Cent.

Code § 51-10-06.

                 FORTY-SECOND CLAIM FOR RELIEF
     VIOLATION OF THE OREGON UNLAWFUL TRADE PRACTICES ACT,
                   OR. REV. STAT. § 646.605, ET SEQ.
                (ON BEHALF OF THE OREGON CLASS)

       430. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       431. By reason of the conduct alleged herein, defendants have violated Or. Rev. Stat. §

646.608, et seq.

       432. Defendants have entered into a contract, combination, or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the pork market, a

substantial part of which occurred within Oregon.

       433. Defendants established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the pork market, for the purpose of excluding or limiting

competition or controlling or maintaining prices, a substantial part of which occurred within

Oregon.




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       434. Defendants’ conduct was conducted with the intent to deceive Oregon consumers

regarding the nature of defendants’ actions within the stream of Oregon commerce.

       435. Defendants’ conduct was unfair or deceptive within the conduct of commerce

within the State of Oregon.

       436. Defendants’ conduct misled consumers, withheld material facts, and had a direct

or indirect impact upon plaintiffs’ and members of the Oregon Class’s ability to protect

themselves.

       437. Defendants’ unlawful conduct substantially affected Oregon’s trade and

commerce.

       438. As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs and

the members of the Oregon Class have been injured in their business or property and are

threatened with further injury.

       439. By reason of the foregoing, plaintiffs and the members of the Oregon Class are

entitled to seek all forms of relief available under Or. Rev. Stat. § 646.638.

       440. Pursuant to section 646.638 of the Oregon Unlawful Trade Practices Act, with the

filing of this action, a copy of this Complaint is being served upon the Attorney General of

Oregon.

                 FORTY-THIRD CLAIM FOR RELIEF
 VIOLATION OF THE RHODE ISLAND DECEPTIVE TRADE PRACTICES ACT,
                  R.I. GEN. LAWS § 6-13.1-1, ET SEQ.
            (ON BEHALF OF THE RHODE ISLAND CLASS)

       441. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       442. By reason of the conduct alleged herein, defendants have violated R.I. Gen Laws

§ 6-13.1-1, et seq.


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       443. Defendants engaged in an unfair or deceptive act or practice with the intent to

injure competitors and consumers through supra-competitive profits.

       444. Defendants established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the pork market, a substantial part of which occurred

within Rhode Island, for the purpose of controlling, fixing, or maintaining prices in the pork

market.

       445. Defendants’ conduct was unfair or deceptive within the conduct of commerce

within the State of Rhode Island.

       446. Defendants’ conduct amounted to an unfair or deceptive act or practice committed

by a supplier in connection with a consumer transaction.

       447. Defendants’ unlawful conduct substantially affected Rhode Island’s trade and

commerce.

       448. Defendants’ conduct was willful.

       449. Defendants deliberately failed to disclose material facts to plaintiffs and members

of the Rhode Island Class concerning defendants’ unlawful activities, including the horizontal

conspiracy and artificially-inflated prices for pork.

       450. Defendants’ deception, including its affirmative misrepresentations and/or

omissions concerning the price of pork, constitutes information necessary to plaintiffs and

members of the Rhode Island Class relating to the cost of pork purchased.

       451. Plaintiffs and members of the Rhode Island class purchased goods, namely pork,

primarily for personal, family, or household purposes.




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        452. As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs and

the members of the Rhode Island Class have been injured in their business or property and are

threatened with further injury.

        453. By reason of the foregoing, plaintiffs and the members of the Rhode Island Class

are entitled to seek all forms of relief, including actual damages or $200 per violation,

whichever is greater, and injunctive relief and punitive damages under R.I. Gen Laws § 6-13.1-

5.2.

                 FORTY-FOURTH CLAIM FOR RELIEF
 VIOLATION OF THE SOUTH CAROLINA’S UNFAIR TRADE PRACTICES ACT,
                  S.C. CODE ANN. §§ 39-5-10, ET SEQ.
            (ON BEHALF OF THE SOUTH CAROLINA CLASS)

        454. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

        455. By reason of the conduct alleged herein, defendants have violated S.C. Code Ann.

§§ 39-5-10.

        456. Defendants have entered into a contract, combination, or conspiracy between two

or more persons in restraint of, or to monopolize, trade or commerce in the pork market, a

substantial part of which occurred within South Carolina.

        457. Defendants established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the pork market, for the purpose of excluding or limiting

competition or controlling or maintaining prices, a substantial part of which occurred within

South Carolina.

        458. Defendants’ conduct was conducted with the intent to deceive South Carolina

consumers regarding the nature of defendants’ actions within the stream of South Carolina

commerce.


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       459. Defendants’ conduct was unfair or deceptive within the conduct of commerce

within the State of South Carolina.

       460. Defendants’ conduct misled consumers, withheld material facts, and had a direct

or indirect impact upon plaintiffs’ and members of the South Carolina Class’s ability to protect

themselves.

       461. Defendants’ unlawful conduct substantially affected South Carolina trade and

commerce.

       462. Defendants’ unlawful conduct substantially harmed the public interest of the State

of South Carolina, as nearly all members of the public purchase and consume pork.

                 FORTY-FIFTH CLAIM FOR RELIEF
 VIOLATION OF THE SOUTH DAKOTA DECEPTIVE TRADE PRACTICES AND
                   CONSUMER PROTECTION LAW,
                S.D. CODIFIED LAWS § 37-24, ET SEQ.
            (ON BEHALF OF THE SOUTH DAKOTA CLASS)

       463. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       464. By reason of the conduct alleged herein, defendants have violated S.D. Codified

Laws § 37-24-6.

       465. Defendants engaged in a deceptive trade practice with the intent to injure

competitors and consumers through supra-competitive profits.

       466. Defendants established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the pork market, a substantial part of which occurred

within South Dakota, for the purpose of controlling, fixing, or maintaining prices in the pork

market.

       467. Defendants’ conduct was unfair, unconscionable, or deceptive within the conduct

of commerce within the State of South Dakota.

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       468. Defendants’ conduct amounted to a fraudulent or deceptive act or practice

committed by a supplier in connection with a consumer transaction.

       469. Defendants’ unlawful conduct substantially affected South Dakota’s trade and

commerce.

       470. Defendants’ conduct was willful.

       471. As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs and

the members of the South Dakota Class have been injured in their business or property and are

threatened with further injury.

       472. By reason of the foregoing, plaintiffs and the members of the South Dakota Class

are entitled to seek all forms of relief, including actual damages and injunctive relief under

S.D. Codified Laws § 37-24-31.

                   FORTY-SIXTH CLAIM FOR RELIEF
        VIOLATION OF THE UTAH CONSUMER SALES PRACTICES ACT,
                   UTAH CODE ANN. §§ 13-11-1, ET SEQ.
                   (ON BEHALF OF THE UTAH CLASS)

       473. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       474. By reason of the conduct alleged herein, defendants have violated Utah Code

Ann. §§ 13-11-1, et seq.

       475. Defendants entered into a contract, combination, or conspiracy between two or

more persons in restraint of, or to monopolize, trade or commerce in the pork market, a

substantial part of which occurred within Utah.

       476. Defendants are suppliers within the meaning of Utah Code Ann. §§ 13-11-3.

       477. Defendants established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the pork market, a substantial part of which occurred


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within Utah, for the purpose of excluding competition or controlling, fixing, or maintaining

prices in the pork market.

       478. Defendants’ conduct was unfair, unconscionable, or deceptive within the conduct

of commerce within the State of Utah.

       479. Defendants’ conduct and/or practices were unconscionable and were undertaken

in connection with consumer transactions.

       480. Defendants knew or had reason to know that their conduct was unconscionable.

       481. Defendants’ conduct misled consumers, withheld material facts, and resulted in

material misrepresentations to plaintiffs and members of the Utah Class.

       482. Defendants’ unlawful conduct substantially affected Utah’s trade and commerce.

       483. As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs and

the members of the Utah Class have been injured in their business or property and are

threatened with further injury.

       484. By reason of the foregoing, plaintiffs and the members of the Utah Class are

entitled to seek all forms of relief, including declaratory judgment, injunctive relief, and

ancillary relief, pursuant to Utah Code Ann. §§ 13-11-19(5) and 13-11-20.

                    FORTY-SEVENTH CLAIM FOR RELIEF
               VIOLATION OF THE UTAH UNFAIR PRACTICES ACT,
                      UTAH CODE ALL. §§ 13-5-1, ET SEQ.
                      (ON BEHALF OF THE UTAH CLASS)

       485. Plaintiffs incorporate and reallege, as though fully set forth herein, each and every

allegation set forth in the preceding paragraphs of this Complaint.

       486. By reason of the conduct alleged herein, defendants have violated Utah Code

Ann. §§ 13-5-1, et seq.




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       487. Defendants entered into a contract, combination, or conspiracy between two or

more persons in restraint of, or to monopolize, trade or commerce in the pork market, a

substantial part of which occurred within Utah.

       488. Defendants established, maintained, or used a monopoly, or attempted to establish

a monopoly, of trade or commerce in the pork market, a substantial part of which occurred

within Utah, for the purpose of excluding competition or controlling, fixing, or maintaining

prices in the pork market.

       489. Defendants’ conduct caused or was intended to cause unfair methods of

competition within the State of Utah.

       490. Defendants’ unlawful conduct substantially affected Utah’s trade and commerce.

       491. As a direct and proximate cause of defendants’ unlawful conduct, plaintiffs and

the members of the Utah Class have been injured in their business or property and are

threatened with further injury.

       492. By reason of the foregoing, plaintiffs and the members of the Utah Class are

entitled to seek all forms of relief, including actual damages or $2000 per Utah Class member,

whichever is greater, plus reasonable attorney’s fees under Utah Code Ann. §§ 13-5-14, et seq.

          FORTY-EIGHTH CLAIM FOR RELIEF UNJUST ENRICHMENT

       493. Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       494. As a result of their unlawful conduct described above, defendants have and will

continued to be unjustly enriched by the receipt of unlawfully inflated prices and unlawful

profits of pork.

       495. Under common law principles of unjust enrichment, defendants should not be

permitted to retain the benefits conferred on them by overpayments by plaintiffs and members

of the classes in the following states: Arizona, California, District of Columbia, Florida,

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 Hawaii, Illinois, Iowa, Kansas, Maine, Massachusetts, Michigan, Minnesota, Mississippi,

 Missouri, Montana, Nebraska, Nevada, New Hampshire, New Mexico, North Carolina,

 Oregon, Rhode Island, South Carolina, South Dakota, Tennessee, Utah, West Virginia, and

 Wisconsin.

                               VIII. REQUEST FOR RELIEF

       WHEREFORE, plaintiffs, on behalf of themselves and the classes of all others so

similarly situated, respectfully requests judgment against defendants as follows:

         496. The Court determine that this action may be maintained as a class action under

 Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, appoint plaintiffs as

 Class Representatives and their counsel of record as Class Counsel, and direct that notice of

 this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be given to

 the Class, once certified;

         497. The unlawful conduct, conspiracy or combination alleged herein be adjudged and

 decreed in violation of Section 1 of the Sherman Act and listed state antitrust laws, unfair

 competition laws, state consumer protection laws, and common law;

         498. Plaintiffs and the Class recover damages, to the maximum extent allowed under

 the applicable state laws, and that a joint and several judgments in favor of plaintiffs and the

 members of the Classes be entered against defendants in an amount to be trebled to the extent

 such laws permit;

         499. Defendants, their affiliates, successors, transferees, assignees and other officers,

 directors, partners, agents and employees thereof, and all other persons acting or claiming to

 act on their behalf or in concert with them, be permanently enjoined and restrained from in any

 manner continuing, maintaining or renewing the conduct, conspiracy, or combination alleged

 herein, or from entering into any other conspiracy or combination having a similar purpose or

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 effect, and from adopting or following any practice, plan, program, or device having a similar

 purpose or effect;

         500. Defendants, their affiliates, successors, transferees, assignees and other officers,

 directors, partners, agents and employees thereof, and all other persons acting or claiming to

 act on their behalf or in concert with them, be permanently enjoined and restrained from in any

 manner continuing, maintaining, or renewing the sharing of highly sensitive competitive

 information that permits individual identification of company’s information;

         501. Plaintiffs and the members of the classes be awarded pre- and post- judgment

 interest as provided by law, and that such interest be awarded at the highest legal rate from and

 after the date of service of this Complaint;

         502. Plaintiffs and the members of the Classes recover their costs of suit, including

 reasonable attorneys’ fees, as provided by law; and

         503. Plaintiffs and the members of the Classes have such other and further relief as the

 case may require and the Court may deem just and proper.

                              IX.     JURY TRIAL DEMANDED

         504. Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules of

 Civil Procedure, of all issues so triable.

Dated: June 28, 2018                            GUSTAFSON GLUEK PLLC

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